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              EXHIBIT 20
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                   Specialist Manuel Roman




                                   1
                               ROMAN 001
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




MARY B. HEATON, et al.,

                      Plaintiffs,

       V.                                           Civil Action No. 1:19-cv-03003-JMC

THE ISLAMIC REPUBLIC OF IRAN,

                      Defendant.


  TESTIMONIAL AFFIDAVIT OF PLAINTIFF MANUEL ROMAN IN SUPPORT OF
      PLAINTIFFS' MOTION FOR DEFAULT JUDGMENT AGAINST IRAN

Pursuant to 28 U.S.C. §1746, I, MANUEL ROMAN, hereby declare as follows:

       1.       "I am one of the Plaintiffs in this case. Iam over the age of 18, of sound mind,

and make this Affidavit from personal knowledge.

       2.       Iwas born in January 1976 and am now 47 years old. Iam aresident of the

Commonwealth of Puerto Rico. In accordance with 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I)—(II) and

1605A(c)(1)—(2), at the time of the March 29, 2007 terrorist attack in which Iwas injured

(hereinafter 'the Attack') Iwas aUnited States citizen and member of the United States armed

forces. Specifically, Iwas amember of the United States Army. The photograph on the preceding

page was taken approximately April 26, 2004 in Fort Leavenworth, Missouri and accurately

depicts me in my Army uniform.

       3.       Iam presenting this Affidavit in support of my request for the Court to enter a

Default Judgment against Defendant Islamic Republic of Iran (`Iran'). More specifically, Iam

submitting this Affidavit to provide the Court with the facts concerning the March 29, 2007

terrorist attack, the injuries Isuffered in the Attack, the medical care and treatments Ihave

received for my injuries, my current condition, and how the attack and injuries have impacted me


                                                2

                                          ROMAN 002
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and my life. See Pls.' First Amend. Compl. at 352-53. 1

       4.       Prior to signing this Affidavit, my attorneys asked me series of questions about

the Attack, my resulting injuries, the medical care and treatments Ihave         received since the

Attack, and my life today. Below are the questions and my answers:

Q. When did you first join the United States Army and why did you enlist?

A. The first time Ienlisted in the United States Army was on April 26,2004. Ienlisted in the service
because Iwanted to serve my country and become asoldier. After what happened to the Twin
Towers (in New York City on September 11, 2001), Iwanted to serve and fight for our country.
The September 11 th terrorist attacks really motivated me to serve.

Q. What your mission, and what happened to you on March 29, 2007?

A. It was avery cold night. Our mission was to do route clearance in Baghdad, Iraq and to look
out for any objects that look like Improvised Explosive Devices ('IEDs') and make the streets safer
for the other convoys to pass. Specifically, we were clearing aroad called 'Husky' and were
traveling in an RG-31 Mine-Resistant Ambush Protected (`MRAP') armored vehicle. As the
mission continued, Iwas struck by an Explosive Formed Penetrator ('EFP'). The projectile device
caused metal pieces to penetrate all over my back and my buttocks.

Q. Would you please describe what you remember about the Attack?

A. At the time of the Attack, Iwas agunner on top of the hatch on the RG-31. The only thing I
recall of my Attack was abig red flash that knocked me out of the gunner hatch and inside the
RG-31. After my fellow soldiers took me out to the street and laid me down, medical personnel
started to work on my injuries. Iwas stabilized and then transported to the Green Zone in Baghdad.

Q. Please describe what happened to you, including the injuries you suffered, in the Attack?

A. The EFP blast knocked me out for approximately 5-8 minutes. Metal objects (shrapnel) from
the RG-31 also went inside my back and buttocks. Doctors at the Green Zone told me Iwas lucky
to be alive, as Iwould be dead if the metal objects hit my organs.

Q. Why do you believe the Attack involved an EFP?

A. Prior to the Attack, our unit received training from the Army about the unique characteristics
of EFP's. Specifically, acompany that was returning from Iraq came to Fort McCoy, Wisconsin
to train our unit for 3months on the characteristics of different explosives. The training emphasized

'The attack date listed in the First Amended Complaint (March 27, 2009) is incorrect. As seen in
my Purple Heart award and several of the medical records attached to this Affidavit (one record
from Walter Reed National Military Medical Center incorrectly lists the attack date as '27 MAR
07'), the attack at issue in this lawsuit took place on March 29, 2009.

                                                 3

                                            ROMAN 003
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IEDs, EFPs, and what kind of objects to look out for in our surroundings and where these
explosives could be camouflaged. The big red flash, the sound of the explosion and all of the
penetrating objects that went through the MRAP's armor and the shrapnel that was removed from
my body as result of the Attack are all consistent with the training that Ireceived on EFPs.

Furthermore, my medical records (attached to this Affidavit) accurately describe the Attack as
involving an EFP.

Q. What medical treatment did you receive after the Attack?

A. At the Green Zone, the doctors there performed surgeries to take all the metal objects out of my
back and buttocks. Iwas then sent to Kuwait, where Iwas then transferred to the Army Hospital
in Landstuhl, Germany for aweek to just clean my injures from the Attack.

Iwas then sent to the Walter Reed National Military Medical Center (`Walter Reed') in Maryland,
where surgery was performed on me to take out more metals objects out of my body from the EFP.
A wound vac machine was placed on me after the surgery at Walter Reed was done. Iwas
stabilized but was experiencing alot of pain. So, every 8 hours, morphine was injected to me
through an IV. From there, Iwas feeling depressed and experiencing anxiety. For instance, Ihad
flashbacks of the Attack that caused me to sweat. Icouldn't sleep. It was ahorrible feeling. I
received treatment at Walter Reed for physical pain and my mental health issues. Medicine was
given to me to start my treatment, which was all new for me.

Q. What activities did you enjoy doing before the Attack that you can no longer do?

A. Iloved to play sports all types of sports, especially softball and basketball. Due to my chronic
back pain caused by my lumbar fractures and herniated discs, Ican't do much physical activity,
including sports. It feels like I'm always having to lie down in bed because my back hurts. Ifeel
useless, hopeless, depressed and isolated.

Q. Where are you living now?

A. I'm living now in Arecibo, Puerto Rico.

Q. Are you working?

A. I'm not working right now. The Army retired me due to my physical injuries and mental health
issues.

Q. Would you please describe atypical day in your life now?

A. My normal days are simple. Ispend alot of time in my room feeling isolated, depressed, on
super high alert, and anxious. Ialso still sometimes have flashbacks of the Attack. Iwatch TV for
most of the day and for the most part get out of my room only to eat.

Q. What ongoing health care are you receiving?


                                                 4

                                             ROMAN 004
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A. Iam receiving treatment for PTSD, TBI and pain management at the Arecibo VA Clinic and
at the San Juan VA Hospital and VA clinic. All my treatment is done through the VA.

Q. What does the future look like for you?

A. Iwant to get better. Ihate being like this everyday. Iwould like to travel around the world
someday.

        5.      As aresult of injuries sustained in the Attack, Ireceived aPurple Heart. The

 Department of Veteran Affairs (`VA') rates my Attack—related depression as 50% disabling and

 my Attack—related back issues       (degenerative   disc   disease, to   include bulging discs,

 thoracolumbar spine) as 40% disabling. Overall, Iam rated 70% disabled by the VA.

        6.      The medical and military records attached to this Affidavit are true and correct

 copies of my military service records from the United States Army, my medical records from

 the Army, and my medical records from the VA. These records fairly and accurately describe

 my military service experience and my related medical history."




                                                 5

                                             ROMAN 005
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"I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
   STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT."




                                             Manuel Roman

SIGNED under oath before me on it"(0( (-J                    2023.




                                            Notary Public — Commonwealth of Puerto Rico




                              Sello




                                                     9397
                                               04/25/2023
                                                    95.00

                                  Seib de Asistencia Leaal
                               80004-2023-0425-46316041




                                                  6
                                            ROMAN 006
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    CAUTION: NOT TO BE USED FOR                                                     THIS IS AN IMPORTANT RECORD,                                     ANY ALTERATIONS IN SHADED AREAS
    IDENTIFICATION PURPOSES                                                                                ...

                                                                   CERTIFICATE OF RELEASE OR DISCHARGE FROM ACTIVE DUTY
          1. NAME (Last. First, Middle)                                             2. DEPARTMENT, COMPONENIAND BRANCH                                         3. SOCIAL SECURITY NUMBER
     ROMAN,                    MANUEL                                              ARMY/ ARNGUS
      4a. GRADE, RATE OR RANK                                  , b. PAY GRADE               5. DATE OF BIRTH (YYYYMMDD)                 6. RESERVE OBLIGATION TERMINATION DATE
     Si:C                                                          E04                      197601=                                        (YYYYMMDD)   ..
      7a. PLACE OF ENTRY INTO ACTIVE DUTY                                                   b. HOME OF RECORD AT TIME OF ENTRY (City and state, or complete address if known)


                                                                                             REQI50       PUERTO    RICO     00612
      8a. LAST DUTY ASSIGNMENT AND MAJOR COMMAND                                                            b. STATION WHERE SEPARATED
     ..:L- ii•:.' :,         .*, UR': TC    R :,: ..,   :v1i-i(:    FC                                     FORT     BUCHANAN,           PR
      9. COMMAND TO WHICH TRANSFERRED                                                                                                                          10. SGLI COVERAGE                   NONE
     ..    .-.                                                                                                                                                     AMOUNT: $400,000.00
      11. PRIMARY SPECIALTY (List number, title and years and months in                                     12. RECORD OF SERVICE                              YEAR(S)            MONTH(S)    DAV(S)
          specialty. List additional specialty numbers and titles involving periods of
          one or more years.)                                                                                a. DATE ENTERED AD THIS PERIOD                      2006                 07          23
     211310 COMBAT ENGINEER - 2 YRS 1 MOS/ /NOTHING                                                          b. SEPARATION DATE THIS PERIOD                      2008                 09          04
     FOLLOWS
                                                                                                             c. NE7 ACTIVE SERVICE THi3 PERIOD                   0002                 01          12
                                                                                                            d. TOTAL PRIOR ACTIVE SERVICE                        0000                 03          17
                                                                                                            e. TOTAL PRIOR INACTIVE SERVICE                      0002         -       00          10
                                                                                                            f. FOREIGN SERVICE                                   0000                 00          00
                                                                                                            g. SEA SERVICE                                       0000                 00          00
                                                                                                            h. EFFECTIVE DATE OF PAY GRADE                       2005                 04          27
      13. DECORATIONS, MEDALS, BADGES, CITATIONS AND CAMPAIGN                                               14. MILITARY EDUCATION (Course title. number of weeks. and month and
          RIBBONS AWARDED OR AUTHORIZED (All periods of service)                                                year completed)
     IRAQ CAMPAIGN MEDAL/ /PURPLE HEART/ /ARMY                                                             NONE/ /NOTHING FOLLOWS
     ACHIEVEMENT MEDAL //NATIONAL DEFENSE SERVICE
     MEDAL //ARMY SERVICE RIBBON/ /COMBAT ACTION
     BADGE //NOTHING FOLLOWS




      15a. MEMBER CONTRIBUTED TO POST-VIETNAM ERA VETERANS' EDUCATIONAL ASSISTANCE PROGRAM                                                                                             YES             NO
        b. HIGH SCHOOL GRADUATE OR EQUIVALENT
                                                                                                                                                                                  X    YES             NO
      16.         DAYS ACCRUED LEAVE                               17. MEMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE                                                   YES       NO
                  PAID 0                                               DENTAL SERVICES AND TREATMENT WITHIN 90 DAYS PRIOR TO SEPARATION
                                                                                                                                                                                             NA        NA
      18. REMARKS
     SUBJECT TO ACTIVE DUTY RECALL BY THE SECRETARY OF THE ARMY/ /DD FORM 215 WILL BE, ISSUED TO
     PROVIDE MISSING INFORMATION/ /SERVED IN A DESIGNATED IMMINENT DANGER PAY AREA/ /SERVICE IN IRAQ
     20060923-20070329/ /INDIVIDUAL COMPLETED PERIOD FOR WHICH ORDERED TO ACTIVE DUTY FOR PURPOSE
     OF POST SERVICE BENEFITS AND ENTITLEMENTS //ORDERED TO ACTIVE DUTY IN SUPPORT OF OPERATION
     IRAQI FREEDOM TAW 10 USC 123027/MEMBER HAS COMPLETED FIRST FULL TERM OF SERVICE//
     /MOBILIZATION FROM 20060723 TO 20070718 10 USC 12302. MRP FROM 20070718 TO 20080806      10 USC
     12301 (H) , 10 USC 1074 (A) AND 10 USC 12322 ./ /BLOCK 19b: ESTRELLA ROMAN PADILLA ; HC 3 BOX
     20417; SECTOR CUCHI 1; ARECIBO PUERTO RICO 00612/ /NOTHING FOLLOWS




     The information contained herein is subject to computer matching within the Department of Defense or with any other affected Federal or non-Federal agency for
     verification purposes and to determine eligibility for, and/or continued compliance with, the requirements of aFederal benefit program.
      19a. MAILING ADDRESS AFTER SEPARATION (Include ZIP Code)                                              b. NEAREST RELATIVE (Name and address -include ZIP Code)



     ARECIBO                    PUERTO          RICO          00612                                        SEE     BLOCK    18
      20. MEMBER REQUESTS                                  PY 6BE SENT TO                 PR                DIRECTOR OF VETERANS AFFAIRS                                          X    YES             NO
      21r , NATURE OF r,                                     BEING SEPARATED                 22. OFFICI             RIZED        SIGN            :         ,grade, title and signature)
                                                                                                                                             ,


                             a  /W                      111(160A
                                                                                            LeI-3- 5.C
                                                                                                    MAS , MI LIT PERS0                             TEmi:
                                                                                                                                                 1,8               _     ..       ,


                                                                         SPECIAL ADDITIONAL INFORMATION (For use by authorized agencies only)
     23. TYPE OF SEPARATION                                                                                 24. CHARACTER OF SERVICE (Include upgrades)

                              Ei.: -                                                                        HC ,NORABLE
      25. SEPARATION AUTHORITY                                                                              26. SEPARATION CODE                               27. REENTRY CODE

                 ...i..ii:     4       iiiA.R.,L.   4      45        2                                      SFli
      28. NARRATIVE REASON FOR SEPARATION
     2_1 iri Ai-
               di :i. !:: - , -.7.,YiPi:iPARY
      29. DATES OF TIME LOST DURING THIS PERIOD (YYYYMMDD)                                                                                                    30. MEMBER REQUESTS COPY 4
                                                                                                                                                                  (Initials) ,•,.;


      DO FORM 214-AUTOMATED,                                                                    GENER,E0     T. ,ANSPROC


                                                                                             ROMAN 007
Case 1:19-cv-03003-JMC-MJS                   Document 51-20               Filed 06/02/23            Page 9 of 80




                                    DEPARTMENT OF THE ARMY
                         HEADQUARTERS, MULTI-NATIONAL DIVISION (BAGHDAD)
                                       CAMP LIBERTY, IRAQ
                                           APO AE 09344




          PERMANENT ORDERS 4129-041                                                             9May 2007


          ROMAN, MANLIEL, XXX-XX-XXXX, SPC, Alpha Company, 130th Engineer Battalion (WP1AA0), 1169th
          Engineer Gioup, 1st Cavalry Division APO AE 09344


          Announcement is made of the following award:


          Award: Purple Heart
          Date(s) or period of service: 29 March 2007
          Authority: AR 6004-22, paragraph 2-8, MNC-I Memorandum, Subject: Delegation of Wartime Awards
          Approval Authority-Multi-National Corps-Iraq and Subordinate Units dated 26 April 2005
          Reason: For wouods received as aresult of hostile enemy action.
          Format: 320


          FOR THE COMMANDER:




                                                              ICA COCHRAN
                                                          LT, AG
                                                         Chief of Operations, GI




          DISTRIBUTION:
          1-INDIVIDUAL CONCERNED
          1-UNIT
          1-FILE
          1-CDR, USAEREC, ATTN: PCRE-FS, 8899 E. 56th St., Indianapolis, IN 46249-5301 (Enlisted)
          1-CDR, HQDA, A1TN: AHRC-MSR, 200 Stovall St, Alicandria, VA 22332-0444 (Officer)
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        Note Type:         WR Brief Op Note
        Note Time:         1550 19 Apr 2007
        Last Stored:       1909 22 Apr 2007
        Stored By:         GILLERN, SUZANNE M. CPT MC

                                                              BRIEF OP NOTE
         PROCEDURE DATE :             19APR2007           (Required)

         PREOPERATIVE DIAGNOSIS :                                 #1     SOFT TISSUE WOUNDS TO BUTTOCKS

         POSTOPERATIVE DIAGNOSIS :                                #1     nol


         PROCEDURE PERFORMED :                   #1   STSG,   WOUND CLOSURE,    WASHOUT

                                                                                                                               (Required')
         sumucz:           General Surgery                               ABAA          IS this a consult         surgery?            NO

         ANESTHESIA :          META
         STAFF SURGEON OF RECORD/ATTENDING :                             X WAKEFIELD

                       SCRUBBED :            YES : X
         RESIDENT SURGEON OF RECORD :                                           GILLERN

         DRAINS :
               NC TUBE :
               FOLEY :
         ESTIMATED BLOOD LOSS :                                          MINIMAL            CC.

         FLUIDS ADMINISTERED :
         #1    CRYSTALLOIDS :                                            BOO        cc.   RINGERS LACTATE:

    #1        SPECIMENS :
                                                         NARRATIVE COMMENTS
         DICTATION NUMBER :              93644

         PT.    EXTUBATED AND TOLERATED PROCEDURE WELL .




773500

ROMAN, MANUEL

                 11Ban1976
 SA NO ENLISTED     ABAA
alter Reed AMC     03Apr2007

PERSONAL DATA/PRIV ACT 1974
 °tee
                                                                  ROMAN 009

CliniComp,     Intl.
                                                                  Page   1 of   1                 printed Mon   Sep 24   15:20:27   2018
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     Note Type:             WR Intraoperative Document
     Note Time:             1308 19 Apr 2007
     Last Stored:           1552 19 Apr 2007
     Stored B:              SUSAN M KEEGAN 1LT RN   HA Q MCM/LLAN

    —    INTRAOPERATIVE DOCUMENT -
   Patient      transported to OR Holding Area from:                        WARD            via    WARD BED            by   OR Staff,       Transport
   Time Transported at:              1237


   SURGERY DATE:                19apr2007

   PREOPERATIVE EMOTIONAL STATUS:                      CALM

   ROOM:    1                              CASE NUMBER:       3
   TIME:     INITIAL PREPARATION:               1237                          TIME PATIENT TRANSFERRED TO ROOM:                      1345

   The surgeon, circulating nurse, and anesthesia provider verbally confirmed
   "time-out" in the OR to verify the correct patient, the correct procedure
   and the correct site of surgery is the:
                                                                                                        N/A             side,
   along with verfication of the correct patient position and availability of
   correct implants and any necessary special equipment.
                                                                  Circulator:          Susan Keegan,          CPT AN                 TIME     1410

    - NURSING PERSONNEL                     —

   ASSIGNED SCRUB                               Sean Clemmons,        PV2

   RELIEF SCRUB:                                Renee Robinson,        CONT                FROM:    1425               TO:    1500
                                                CIV
   RELIEF SCRUB:                                Gwendolyn Davis,        ORE                FROM:    1500               TO:    eoc

   ASSIGNED STAFF CIRCULATOR:                   Susan Keegan,        CPT AN
   RELIEF CIRCULATOR:                           Ha McMilan,        RN CIV                  FROM:    1500               TO:    eoc

   TRAINING PERSONNEL (MANE AND TITLE)!                       0,    none
   LASER                              NO    X
   CELL SAVER            YES          NO    X

    - POSITION                AND POSITIONAL AIDS -
   #1    Position:          Prone                                              Positional Aids:               head resting in blue foam
                                                                                                              pillow, arms extended to
                                                                                                              front on eggcarte/paddad
                                                                                                              armboards, safety strap
                                                                                                              across thighs, pillows lining
                                                                                                              chest to toes

    - SKIN PREPARATION -
   n     HAIR REMOVAL:           DONE BY PHYSICIAN WITH                       Site:          Operative site
                                 CLIPPERS
   #1    PREP SOLUTION:           7.5% POVIDONE-IODINE CLEANSER                    SITE:    mid back to                     BY WHOM:    Susan Keegan,      CPT
                                  (SCRUB) 10% POVIDONE-IODINE                               posterior thighs                            AN
                                  SOLUTION (PAINT)
           COMMENTS:          no pooling of solution or skin irritation noted
   EXTERNAL DEVICES:              GROUND PAD                                                LOCATION:      poterior left     thigh

   EXTERNAL DEVICES:              PNEUMATIC COMPRESSION SLEEVES                             LOCATION:      BILATERAL KNEE LENGTH
   EXTERNAL DEVICES:              SAFETY STRAP                                              LOCATION:      ACROSS LOWER LEGS

   EXTERNAL DEVICES:              BAIR HUGGAR-UPPER                                         LOCATION:      across back
   EXTERNAL DEVICES:              pillows                                                   LOCATION:      under body from chest        to
                                                                                                           toes
                         X SURCIAL COUNT                  SURCIAL COUNT 2                      SURCIAL COUNT 3                 SURCIAL COUNT 4
                           1ST SITE                       2ND SITE                             SITE 3                          SITE 4

     X     SPONGE:                                                                                 Scrub                            Circulator




773500

ROMAN, MANUEL
                  IlVan1376

USA NO ENLISTED      ABAA

'alter Reed AMC     03Apr2007

 RSONAL DATA/PRIV ACT 1974

SF 502-6-Narrative Summary

                                                                            ROMAN 010
CliniComp,      Intl.
                                                                            Pogo 1of 4                             printed Mon Sop 24 15:20:27          2018
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            Initial:                                               Sean Clemmons,    PV2          Susan Keegan,
                                                                                                  CPT AN
            1st closing count:        Correct                      Gwendolyn Davis,    ORT        Ha McMilan, RN
                                                                                                  CIV
            Final closing count:      Correct                      Gwendolyn Davis, ORT           Na McMilan,   RN
                                                                                                  CIV
            Relief count:             Correct                      Renee Robinson,    CONT        Susan Keegan,
                                                                   CIV                            CPT AN
      X    NEEDLE SHARP:                                                  Scrub                      Circulator
            Initial:                                               Sean Clemons,     PV2          Susan Keegan,
                                                                                                  CPT AN
            let closing count:        Correct                      Gwendolyn Davis,    ORT        RA Mcbglan, RN
                                                                                                  CIV
            Final closing count:      Correct                      Gwendolyn Davis,    ORT        Ha McMilan, RN
                                                                                                  CIV
            Relief count:             Correct                      Renee Robinson,    CONT        Susan Keegan,
                                                                   CIV                            CPT AN
           INSTRUMENT:
      X    OTHER:     Scratch Pad                                         Scrub                      Circulator
            Initial:                                               Sean Clemons,     PV2          Susan Keegan,
                                                                                                  CPT AN
            1st closing count:        Correct                      Gwendolyn Davis,    ORT        Ha MdMilan, RN
                                                                                                  CIV
            Final closing count:      Correct                      Gwendolyn Davis,    ORT        Ha McMilan, RN
                                                                                                  CIV
           Relief count:              Correct                      Renee Robinson,    CONT        Susan Keegan,
                                                                   CIV                            CPT AN
           If count incorrect       X-ray taken: YES          No
          SPONGE:2ND SITE
            Initial:
            let closing count:
            Final closing count:
           Relief count:
          NEEDLE SHARP:2ND SITE
            Initial:
            let closing count:
           Final closing count:
           Relief count:
          SPONGE:SITE 3
           Initial:
           1st closing count:
           Final closing count:
           Relief count:
          NEEDLE SHARP:SITE 3
           Initial:
           1st closing count:
           Final closing count:
           Relief count:
          SPONGE:SITE 4
           Initial:
           1st closing count:
           Final closing count:
           Relief count:
          NEEDLE SHARP:SITE 4




773500

ROMAN, MANUEL
                  IlUan1976

USA NG ENLISTED      ABAA

Walter Reed AMC     03Apr2007

PERSONAL DATA/PRIV ACT 1974
SF 502-13-Narrative Summary
                                                         ROMAN 011
CliniComp, Intl.
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            Initial:
            1st closing count:
            Final closing count:
            Relief count:

     -ELECTROSURGERY DEVICE (S)                            (ESU) -

     YES        X     NO           B017IE FWD APPLIED BY:                        Susan Keegan, CPT AN

    #1 ESU NO:          L8615                     GROUND PAD BRAND:          Conmed Macrolyte                      LOT NO:       0703202
         CUT SETTINGS:            30                         COAGULATION SETTINGS:           30                   RAP DATE:      2009-03
    #1 BIPOLAR NO:            n/a                             BIPOLAR SETTINGS:                   n/a

     - PROSTHESIS,IMPLANTS                        -

     - MEDICATIONS /                   =mu         -
    MEDICATION GIVEN IN OP ROOM                 (NOT BY ANESTHESIA):                 X    YES           NO
         MEDICATIONS/SOLUTION:                               DOSAGE:     TIME:       METHOD:            PREPARED BY:             GIVEN BY:
    #1   mineral oil                                         QS          Intraop    Topical             Manufacturer             surgeon
    #2   2.0% Lidocaine with                                 QS          Intraop    Topical             Manufacturer             surgeon
     •   Epinephrine 1:200,000 for
         donor site
    WOUND IRRIGATION:                  X YES          NO
    #1    TYPES:        NORMAL SALINE
    #1    OTHER ORDERS:             Flotron Stockings        (40mmlig)              TIME:    preop       CARRIED OUT BY:         Susan Keegan,   CPT AN
    #2    OTHER ORDERS:             Bair Warming Blanket Upper                      TIME:    preop        CARRIED OUT BY:        anesthesia
    X-Ray in OR                          YES     X NO

    - LABORATORY SPECIMENS                         -
         Tissue
         To Cytology
         To Microbiology

     - TUBES/DRAINS,                   PACKING         -

    #1 TYPE:         PENROSE                                                                                             SIZE:   5/8th inch
         SITE:       buttock
    #2 TYPE:         WOUND VAC                                                                                           SIZE:   small
         SITE:       to buttocks

    - DRESSING/IMMOBILIZATION -
           #1       aqua cell,     fluffs,     kerlix,     ace wrap on donor site

    - ADDITIONAL                  INFORMATION -
    #1 OPERATIONS PERFORMED:                      irrigation and debridement and split thickness skin graft to buttocks
                                                  wound
    #2 OPERATIONS PERFORMED:                      wound vac change
    WOUND CLASS               Class II - Clean-contaminated:               GI,   rasp,   or GU tract enterd W/O gross spillage.
    COMPLICATIONS:            Bee surgeons and anesthesia notes
    #1   FAMILY UPDATED AT:                    eoc by surgeon
    #1     SURGEONS:           wakefield//gillern
    #1 ANESTHESIA:             liu//vance
    #1 COMMENTS:           patient tolerated positioning and transfers wihtout difficulty
    #2 COMMENTS:           bovie site remains intact
    DISPOSITION:           PACU                                                                                   VIA:       WARD BED


    EXITING O.R.           - PT I.D.    BAND is intact and verified location:                        Left Wrist
    SPECIMEN VERIFICATION:
    ANY SPECIMENS?                      YES           X No
    VERIFIED WITH SURGEON: DR.                   aidinian




773500

ROMAN, MANUEL
EMMMITan1976

USA MG ENLISTED        ABAA

Walter Reed AMC       03Apr200?

PERSONAL DATA/PRIV ACT 1974
SF 5024-Narrative Summary
                                                                           ROMAN 012

clinicomp, Intl.
                                                                            Page 3 of 4                        printed Mon Sep 24 15:20:27 2018
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    EXIT SURGERY DATE:        19apr2007       PATIENT EXIT ROOM      1555      TOTAL TIME

    TOTAL TIME CATEGORY:      I           TOTAL ASSIGNED STAFF    (CIRCULATOR/SCRUB):       2       EPISODES   I




773500

ROMAN, MANUEL
ilIan1976

USA NO ENLISTED     ABAA
Walter Reed AMC   03Apr2007
PERSONAL DATA/PEP! ACT 1974
SF 502-13-Narrative Summary
                                                  ROMAN 013

CliniComp,    Intl.
                                                   Page 4 of 4                    printed Mon Sep 24 15:20:27 2018
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  HEALTH RECORD                                                 CHRONOLOGICAL RECORD OF MEDICAL CARE
  27 Apr 2007 1418                Facility: WRNMMC Clinic: Soc Work CIY1P WR              Provider: MCCANN, ANGELA V


                                                                  Order



           SO Note Written by MCCANN, ANGELA V A 27 Agn 2007 1423 EDT
           History of present illness
                The Patient is a31 year old male.
                °Encounter Background Information: SM WAS REFERRED TO SOCIAL WORK BY MED/HOLD PROTOCOL. THE SM'S
           NURSE CASE MANAGER IS CAPT ADDIS, AND THE ATTENDING PHYSICIAN IS DR. SEGAL OR HUGHLEY. THE SM IS
           A MEMBER OF THE ARMY NATIONAL GUARD.HISTORY OF THE PRESENT ILLNESS/PROBLEM: SM HAS BEEN SENT TO
           WFtAMC AFTER BEING INJURED BY AN (EFP) DURING A ROCK CLEARING MISSION ON 27 MAR 07 AROUND 8PM.. THE
           SM REPORTS THAT MOST OF THE BLAST WAS TAKEN IN HIS BACK AND BUTTOCKS AREA. THE SM REPORTS THAT HE
           PHYSICALLY HEALING, BUT CONTINUES TO EXPERIENCE SOME DIFFICULTY SLEEPING AND ZONING OUT, AND
           LONELINESS. SM EQUATES OF THESE SYMPTOMS TO THE MANY MEDICATIONS HE TAKING AT THIS TIME. THE PT IS
           SCHEDULED FOR A BH EVALUATION ON 8MAY 07 AT 8:30AM. THE SM IS AWARE OF THIS APPOINTMENT AND IS
           POSITIVE TOWARDS THE IMPORTANCE OF THE EVALUATION.THE SM APPEARS TO BE IN GOOD SPIRITS, AND IS VERY
           MOTIVATED FOR TREATMENT AND FULL RECOVERY. THE SM EXPECTS THAT HIS TREATMENT WILL BE COMPLETE
           WITHIN THE NEXT SEVERAL WEEKS, HOWEVER, UNDERSTANDS THAT IT MAY TAKE LONGER, THE SM PLANS TO
           REMAIN IN THE MILITARY. SM DENIES ANY SI/HI, NO PREVIOUS HISTORY OF GESTURES OR ATTEMPTS. THE SM
           PRESENTS WITH GOOD JUDGEMENT AND IS INSIGHTFUL AS IT RELATES TO HIS MEDICAL CONDITION. PLAN:
           COMPLETE RECOMMENDED TREATMENT IN CBHCO PROGRAM, RETURN TO DUTY. SM WAS ALSO GIVEN
           INFORMATION ON VA BENEFITS AND ACCESS

           MP Written by MCCANN, ANGELA V A 27 Apr 2007 1443 EDT
           I. visit for: military services physical(POST-DEPLOYMENT EXAMINATION,)
                        Procedure(s):           -Social Work Individual Outpatient Counseling 45-50 Minutes


           Disposition Written by MCCANN, ANGELA V A 27 Apr 2007 1444 EDT
           Released w/o Limitations
           Follow up: as needed.
           Discussed: Diagnosis, Medication(s)/Treatment(s), Alternatives, Potential Side Effects with Patient who indicated understanding.
           120 minutes face-to-face/floor time. >50% of appointment time spent counseling and/or coordinating care.



           Signed By MCCANN, ANGELA V (LCSW-C, SOCIAL WORK, WRAMC, NNMC Bethesda, MD) @ 27 Apr 2007 1444




Name:      ROMAN, MANUEL                          Sex:      M                                Sponsor Name:     ROMAN, ivIANUEL
FMP/SSN:                                           DoD ID: 1
                                                           272425414                         Rank:             SPECIALIST
DOB:       El Jan 1976                             Tel H:   787-531-6916                     Unit:             WP I
                                                                                                                  ATD       (0130 EN BN       HHC CBT REAR)
PAT CAT: A15.2 USA NG ENLISTED                     Tel W:                                    OutPAT RR:
MC Status:                                         CS:                                       Insurance:        No
Status                                             PCM:                                      Tel. PCM:
CIC:


                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                                    STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT 0       VA-,5,79). UNAUTHORIZED ACCESS                                           Prescribed by GSA and ICMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LA      gMRS WILL BE PROSECUTED.                                                FIRIVIR (41 CFR) 201-45.505
                                                                                                                                                      Page 2of 2
            Case 1:19-cv-03003-JMC-MJS                            Document 51-20              Filed 06/02/23           Page 16 of 80

  HEALTH RECORD                                                CHRONOLOGICAL RECORD OF MEDICAL CARE
  30 Apr 2007 0845                   Facility: WRNMIVICClinie: Int Med FCC WR      Provider: KIM, SUNNY Y




           DIPHENHYDRAMINE HCL, 25MG, CAPSULE                    Replacement PRNQ4H                        NR              Not Recorded
                                                                 Order



           SO Note Written by KIM. SUNNY Y ti 30 Acir 2007 0907 EDT
           History of present Illness
                The Patient is a31 year old male.
                °Encounter Background Information: 31 y/o male national guard OIF in Iraq on patrol as agunner in vehicle arrived in iragw in
           sept and was hit by an efp (explosive force projectile) In buttocks on 29 march 2007. partially treated in theater: removal of
           shrapnel. wounds left open and transferred to landstuhl then arrived in wramc 4/2/05. underwent wound closure of buttock wound
           and had STSG onto 2lower back wounds. donor site right thigh. dos: 19 apirl 2007. discharged 25 april 2007

           Past medical/surgical history
           Reported History:
                None prior to this injury

                Reported medications: Medication history medication list reviwed and correct expect im/iv meds that were inpatient
                    medictaions

           Personal history
           .Behavioral history: Smoking 2cig/ day

           Alcohol: No consumption of alcohol.
           Home environment: Home environment stationed in puerto rico, born/raised in massachuttes

           Marital: Marital history. Has been married.
           Family: Family social history children 3daughters. lives in mass

           Review of systems
           Systemic symptoms: No systemic symptoms.
           Cardiovascular symptoms: No cardiovascular symptoms.
           Pulmonary symptoms: No pulmonary symptoms.
           Gastrointestinal symptoms: No gastrointestinal symptoms.
           Genitourinary symptoms: No genitourinary symptoms.
           Physical findings
           Vital signs:
                 •Vital signs:
           General appearance:
                 •General appearance: °Awake. °Alert. °Oriented to time, place, and person. °Well developed. °Well nourished. °Well
                      hydrated. °Healthy appearing. °Active. °In no acute distress.
           Back:
                 •Back:
           Skin:
                 •Skin: 3areas of closed buttock, some syrthema around sutures. wounds filled with serous fluid, right thigh donor site:
                      clean, no erythema


           A/P Written by KIM, SUNNY Y 0. 30 Apr 2007 0944 EDT
           1. OPEN WOUND OF BUTTOCK: sip efp explosion. 3primary closure of buttock wounds, large wounds. may be slow to heal. may not heal
           and may require additional vac time at one point.


                      Medication(s):           -DIPHENHYDRAMINE--P0 25MG CAP -T1-2 CAP (25-50MG) PO Q611 #90 RFO Qt: 90 Rf: 0Ordered By:
                                               KIM, SUNNY Y Ordering Provider: KIM, SUNNY YANG
           2. Dressing Change: changed all dressings.

           msb supplies: rx given.




Name:      ROMAN, MANUEL                          Sex:     M                          Sponsor Name:   ROMAN, MANUEL
FMP/SSN:                                          DoD ID: 1272425414                  Rank:           SPECIALIST
DOB:       In Jan 1976                            Tel H:   787-531-6916               Unit:           WPIAID      (0130 EN BN        HHC CBT REAR)
PAT CAT: A15.2 USA NC ENLISTED                    Tel W:                              OutPAT RR:
MC Status:                                        CS:                                 Insurance:      No
Status                                            PCM:                                Tel. PCM:
CIC:


                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                         STANDARD FORM 600 (REV. 5)
    TUBS INFORMATION IS PROTECTED BY THE PRIVACY ACT 0    4 Ag9). UNAUTHORIZED ACCESS                                      Prescribed by GSA and ICMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LA           WILL BE PROSECUTED.                                     FIRMR (41 CFR) 201-45,505
                                                                                                                                                Page 2of 3
            Case 1:19-cv-03003-JMC-MJS                           Document 51-20                 Filed 06/02/23            Page 17 of 80

  HEALTH RECORD                                              CHRONOLOGICAL RECORD OF MEDICAL CARE




            Patient: ROMAN, MANUEL                       Date: 02 May 2007 1126 EDT                    Appt Type: EST
            Facility: NNMC Bethesda, MD                  Clinic: Colon-Rectal Clinic WR                Provider: NELSON, JEFFERY M
           Patient Status: Outpatient


           Reason for Appointment: f/u
           Appointment Comments:
           aim

           AutoCites Refreshed by NELSON. JEFFERY M (a. 03 May 2007 1829 EDT
            Problems                                                                                    Allergies
               •OPEN WOUND OF BUTTOCK
                                                                                                        No Allergies Found.
               •Dressing Change
               •visit for: military services physical
               •visit for: postsurgical exam
               •Inquiry And Counseling: Family
               Functioning
               •Patient Education
               •PARENT /CHILD PROBLEM
               •ASSESSMENT OF PATIENT
               CONDITION WORK-RELATED
               •visit for: screening exam pulmonary
               tuberculosis
               •Patient Education -Dietary
               •NO PSYCHIATRIC DIAGNOSIS ON
               AXIS II
               •LUMBAGO




           Screening Written by BENNETT-HAMILTON, CLAUDIA I.              02 May 2007 1137 EDT
           Reason For Appointment: flu

           Allergen information verified by BENNETT-HAMILTON, CLAUDIA I. @ 02 May 2007 1137 EDT



           SO Note Written by PETERSON. WRIT C ti 02 May 2007 1203 EDT
           Reason for Visit
                 Visit for: flu for wound check after discharge 25 April. Pt has three deep wounds closed with suture on buttock, two skin graft
           sites on upper buttock and skin graft donor site on R posterior thigh. Pt states that pain is well controlled with home meds,
           described as throbbing 5/10 pain, worse when he does alot of walking. Itching is controlled well with Benedryl. No radiation. No
           f/c/ns. No abnormal or foul smelling discharge from wounds. Pt visited PCM last week, given Bacitracin to put on all wounds. Pt
           states that yesterday the covering of the STSG donor site fell off. Pt has been covering skin graft sites with kerlex and tape. He is
           not covering the deep wounds

           Past medical/surgical history
           Reported History:
                Past medical history OIF in iraq on patrol as agunner in vehicle arrived in iragw in sept and was hit by an efp (explosive force
                     projectile) in buttocks on 29 march 2007. partially treated in theater: removal of shrapnel. wounds left open and
                     transferred to landstuhl then arrived in wramc 4/2/05. underwent wound closure of buttock wound and had STSG onto 2
                     lower back wounds. donor site right thigh. dos: 19 apirl 2007. discharged 25 april 2007

           Personal history
           Behavioral history: Tobacco use 2cigarettes per day

           Alcohol: Alcohol.
           Review of systems
           Systemic symptoms: Feeling tired or poorly. No fever, no chills, and no night sweats.
           Pain can be controlled: Pain controlled by rest, pain controlled by medication, and pain controlled by changing position.
           Skin symptoms: No pruritus and no skin peeling. A painful skin area without arash or sore, superficial skin pain, and askin
                wound.

Name:      ROMAN, MANUEL                        Sex:     M                             Sponsor Name:    ROMAN, MANUEL
FMP/SSN:                                        DoD ID: 1272425414                      Rank:            SPECIALIST
DOB:       ii Jan 1976                          Tel H:   787-531-6916                   Unit:            WPIATD      (0130 EN BN     HHC CBT REAR)
PAT CAT: A15.2 USA NG ENLISTED                  Tel W:                                  OutPAT RR:
MC Status:                                      CS:                                     Insurance:       No
Status                                          PCM:                                    Tel. PCM:
CIC:


                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                            STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT O19). UNAUTHORIZED ACCESS                                                Prescribed by GSA and ICIVIR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LA      grble,1 WILL BE PROSECUTED.                                     FIRIVIR (41 CFR) 201-45.505
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            Case 1:19-cv-03003-JMC-MJS                              Document 51-20                    Filed 06/02/23             Page 18 of 80

  HEALTH RECORD                                                 CHRONOLOGICAL RECORD OF MEDICAL CARE
  02 May 2007 1126                Facility: WRNIVIMCClinic: Colo-Rect Cl WR               Provider: NELSON, JEFFERY MICHAEL



           Physical findings
           Skin:
                •Skin: Wounds on buttock with mild erythema, no increased warmth, thick oily substance filling defects c/w bacitracin use.
                     Sutures in place, approximating skin appropriately. Skin graft sites well healed, some sloughing of skin around edges.
                     Donor site dry, healing well, no evidence of infection. Three sutures taken out



           A/P Written by PETERSON. MARIT C (a. 02 May 2007 1222 EDT
           1. OPEN WOUND OF BUTTOCK: Wounds healing well, no evidence of infection. Advised pt not to use bacitracin on open wounds, it can
           be used on skin graft donor site. Alternatively could use regular lotion on donor site. Does not need to dress wounds any longer. Will f/u in
           clinic in one week.


           Disposition Written by NELSON. JEFFERY M A 03 May 2007 1852 EDT
           Released w/o Limitations
           Follow up: 1week(s) in the COLO-RECT CL WR clinic or sooner if there are problems.
           Discussed: Diagnosis, Medication(s)/Treatment(s), Alternatives, Potential Side Effects with Patient who indicated understanding.
           20 minutes face-to-face/floor time..



           Signed By NELSON, JEFFERY M (Chief, Colon and Rectal Surgery, WFtAMC) @ 03 May 2007 1853




Name:      ROMAN, MANUEL                          Sex:      M                                Sponsor Name:     ROMAN, MANUEL
FMP/SSN:                                           DoD ID: 1272425414                         Rank:            SPECIALIST
DOB:       IN Jan 1976                             Tel H:   787-531-6916                      Unit:            WPIATD       (0130 EN BN       HIIC CBT REAR)
PAT CAT: A15.2 USA NG ENLISTED                     Tel W:                                    OutPAT RR:
MC Status:                                         CS:                                       Insurance:        No
Status                                             PCM:                                      Tel. PCM:
CIC:


                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                                    STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT C% A/IA.79,4 ;5.79). UNAUTHORIZED ACCESS                                         Prescribed by GSA and 1CMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LTraArMs WILL BE PROSECUTED.                                                    FIRIVIR (41 CFR) 201-45.505

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            Case 1:19-cv-03003-JMC-MJS                       Document 51-20               Filed 06/02/23             Page 19 of 80

  HEALTH RECORD                                           CHRONOLOGICAL RECORD OF MEDICAL CARE



           Patient: ROMAN, MANUEL                     Date: 08 May 2007 0900 EDT                  Appt Type: SPEC
           Facility: NNMC Bethesda, MD                Clinic: Behavior Health Adult Walter        Provider: ATWAL, NAVNEET K.
                                                      Reed
           Patient Status: Outpatient


           Reason for Appointment: PTSD

           AutoCites Refreshed by ATVVAL, NAVNEET K. a08 May 2007 0835 EDT
             Problems                                                                              Allergies
                •OPEN WOUND OF BUTTOCK
                                                                                                   No Allergies Found.
                •Dressing Change
                •visit for: military services physical
                •visit for: postsurgical exam
                •Inquiry And Counseling: Family
                Functioning
                •Patient Education
                •PARENT /CHILD PROBLEM
                •ASSESSMENT OF PATIENT
                CONDITION WORK-RELATED
                •visit for: screening exam pulmonary
                tuberculosis
                •Patient Education -Dietary
                •NO PSYCHIATRIC DIAGNOSIS ON
                AXIS 11
                •LUMBAGO


           Active Medications

           Active Medications                               Status      Sig                    Refills Left              Last Filled
           DIPHENHYDRAMINE HCL, 25MG, CAPSULE               Active      T1-2 CAP (25-50MG) PO  NR                        30 Apr 2007
                                                                        Q6H #90 RFO
           Bacitracin 500U/g, Ointment                      Active      AM BID UD #1 RF2       2of 2                     30 Apr 2007
           ZINC SULFATE, 110MG, TABLET                      Active      T1 TAB PO TID #60      NR                        25 Apr 2007
           Petrolatum, Ointment                             Active      USE UD #2 RFO          NR                        25 Apr 2007
           ASCORBIC ACID, 500MG, TABLET                     Active      Ti TAB PO BID #100 RFO NR                        25 Apr 2007
           IBUPROFEN, 800MG, TABLET                         Active      Ti TAB PO TID #100 RFO NR                        25 Apr 2007
           SERTRALINE HCL, 25MG, TABLET                     Active      T1 TAB PO QD #30       NR                        25 Apr 2007
           SENNOSIDES, 8.6MG, TABLET                        Active      Ti TB PO HS PRN FOR    NR                        25 Apr 2007
                                                                        CONSTIPATION #90 RFO
           HYDROXYZINE HCL, 25MG, TABLET                    Active      Ti TB PO Q8HRS PRN #30 NR                        25 Apr 2007
                                                                        RFO
           DOCUSATE SODIUM, 100MG, CAPSULE                  Active      Ti CAP PO BID #60 RF2  2of 2                     25 Apr 2007
           Morphine Sulfate 30mg, Extended release tablet   Active      Ti TAB PQ Q12HRS FOR   NR                        25 Apr 2007
                                                                        PAIN #50 RFO
           HYDROMORPHONE HCL, 2MG, TABLET                   Active      T1-2 TABS PO Q4HRS PFP NR                        25 Apr 2007
                                                                        #60 RFO
           HYDROMORPHONE HCL, 2MG, TABLET                   Active      TAKE 1-2 TAB(S) BY     NR                        13 Apr 2007
                                                                        MOUTH EVERY 4HOURS
                                                                        AS NEEDED
           Hydromorphone Hydrochloride 1mg/mL, Solution     Replaced    PRNQ2H                 NR                        Not Recorded

           Hydromorphone Hydrochloride 1mg/mL, Solution     Replacement PRNQ DAY                         NR              Not Recorded
                                                            Order
           DIPHENHYDRAMINE HCL, 25MG, CAPSULE               Replaced    PRNQ4H                           NR              Not Recorded

           DIPHENHYDRAMINE HCL, 25MG, CAPSULE               Replacement PRNQ4H                           NR              Not Recorded
                                                            Order




Name:      ROMAN,MANUEL                      Sex:     M                           Sponsor Name:    ROMAN, MANUEL
FMP/SSN:                                      DoD ID: 1272425414                  Rank:             SPECIALIST
DOB:       IIIII1Jan 1976                    Tel H:   787-531-6916                Unit:             WPIATD      (0130 EN BN    HHC CBT REAR)
PAT CAT: A15.2 USA NC ENLISTED               Tel W:                               OutPAT RR:
MC Status:                                   CS:                                  Insurance:        No
Status                                       PCM:                                 Tel. PCIVI:
CIC:


                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                       STANDARD FORM 600 (REV. 5)
    TIES INFORMATION IS PROTECTED BY THE PRIVACY ACT Og        9dit79). UNAUTHORIZED ACCESS                              Prescribed by GSA and ICMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL L        "
                                                               M SWILL BE PROSECUTED.                                    FIRMR (41 CFR) 201-45.505
                                                                                                                                         Page 1of 4
            Case 1:19-cv-03003-JMC-MJS                           Document 51-20                  Filed 06/02/23            Page 20 of 80

  HEALTH RECORD                                               CHRONOLOGICAL RECORD OF MEDICAL CARE
  08 May 2007 0900               Facility: WRNMIVICClinic: Behavior Health Adult WR              Provider: ATWAL, NAVNEET K


           Screening Written by ATWAL, NAVNEET K. a08 May 2007 0835 EDT
           Reason For Appointment: PTSD

           Allergen information verified by ATWAL, NAVNEET K. @ 08 May 2007 0835 EDT


           SO Note Written by ATWAL, NAVNEET K.           ≥08 May 2007 1001 EDT
           Chief complaint
           The Chief Complaint is: "Ican't sleep"

           Referred here
           "By Capt Addis"

           History of present illness
                The Patient is a31 year old male.
                °Encounter Background Information: Pt is sip EFP (explosive force projectile) in buttocks on 29 March 2007 while on Patrol
           as agunner in Iraq. He was partially treated in theater, wounds left open and transferred to Landstuhl and eventually arrived in
           WRAMC on 4/2/05. Pt underwent wound closure of buttock wound, discharged to med-hold on 25 April 2007.'

                Pt reports being In normal states of mental health up until he got back to US. He endorses difficulty falling and staying asleep
           "dream about Iraq and the incident that keep me awake" he remembers the dreams and denies any night sweats or sx of anxiety.
           He admits to startle response to loud noises "the other day Iheard the gun shots but nothing was happening around." Denies any
           ax of withdrawal, anxiety/panic attacks. He admits to sad mood at times with feelings of guilt of leaving the" Buddies back in Iraq"
           and poor energy, concentration can "go up and down" with some forgetful ness and at times "space out, Iwould be awake but
           thinking about Iraq ,my family, my buddies" but still is well aware of the surroundings at the same time. No anhedonia /no safety
           issues. He has positive attitude towards life and is hopeful for his future. Still thinks that he could go back to Iraq. He was started
           on Zoloft 25 mg dose while in the hospital, no s. /e of meds

                •Decreased concentrating ability on and off' sometime can concentraion, other times can't'




                  No anxiety •Depression at times with sad mood, insomnia, poor energy.
                  * No feelings of hopelessness ° No anhedonia 0 No social withdrawal ° No loss of interest in friends and family 0 A desire
           to continue living ° Not having asuicide plan 0 No stated intent to commit suicide ° No previous suicide attempt ° No homicidal
           thoughts ° No low self-esteem • Feeling guilty 'about leaving buddies in Iraq'


                oAppetite not decreased
           Past medical/surgical history
           Reported History:
                Reported medications: Taking medication for depression.
                Medical: Past medical history was reported by the patient see problem list
                      No thyroid disease. Previous psychiatric treatment Started on Zoloft in the hospital.


                Physical trauma: Physical trauma as per HPI

           Diagnosis History:
                No anorexia nervosa
                No bulimia nervosa
                No bipolar Idisorder, most recent episode, manic.
                No generalized anxiety disorder
           Previous therapy
                 No history of herbal medicines
           Personal history
           Social History: The patient is born in MA, raised by his both parents.   He has one brother and one sister; he is #2in the family.
           Parents live in Puerto Rico at the present time.Describes his childhood as loving.Denies having any developmental delays or
           problems. The patient is currently single, never married but has 3daughters aged 9, 11, 12 years of from arelationship. His ex-GF
           has the custody of his children; His daughters became aware of his injury 1-2 weeks ago. No history of physical /sexual /emotional
           abuse has been reported.Military History: -.Joined Military in 2004, Basic training at Ft Lenorwood, 3years TIS, deployed to Iraq in

Name:      ROMAN, MANUEL                        Sex:      M                              Sponsor Name:    ROMAN, MANUEL
FMP/SSN:                                         DoD ID: 1272425414                      Rank:            SPECIALIST
DOB:       IN Jan 1976                           Tel H:   787-531-6916                   Unit:            WP I
                                                                                                             ATD       (0130 EN BN     HHC CBT REAR)
PAT CAT: A15.2 USA NG ENLISTED                   Tel W:                                  OutPAT RR:
MC Status:                                       CS:                                     Insurance:       No
Status                                           PCM:                                    Tel. PCM:
CIC:


                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                              STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT 01,4-/1WIN9,4479). UNAUTHORIZED ACCESS                                     Prescribed by GSA and ICNIR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LAW-
                                                         NrOlt 1M WILL BE PROSECUTED.                                           FIRMR (41 CFR) 201-45.505
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            Case 1:19-cv-03003-JMC-MJS                             Document 51-20                  Filed 06/02/23       Page 21 of 80

  HEALTH RECORD                                              CHRONOLOGICAL RECORD OF MEDICAL CARE
  08 May 2007 0900               Facility: WRNNIMC Clinic: Behavior Health Adult WR                Provider: ATWAL, NAVNEET K


           Sept 2006; E-4, USAD, 21 B MOS

           Behavioral history: Caffeine use 2-3 cups of cofee aday and tobacco use 2-3 cigarettes aday

           Critical stress history: Critical stress history Being on Med hold,s/p injury

           Alcohol: Alcohol use 1-2 beers occasionally

           Drug use: Not using drugs.
           Habits: Not exercising regularly.
           Family history
                No depression
                 No suicide attempt
                 Suicide not completion
                 No anxiety disorder NOS.
           Review of systems
           Systemic symptoms: Feeling tired or poorly sometimes

                 No recent weight change.
           Cardiovascular symptoms: No chest pain or discomfort and no palpitations.
           Pulmonary symptoms: No dyspnea and no rapid breathing.
           Gastrointestinal symptoms: No abdominal pain.
           Endocrine symptoms: No temperature intolerance, no hot flashes, and no loss of hair from the head or body.
           Skin symptoms: No dry skin.
           Psychological symptoms: Not sleeping much more than usual. Insomnia.
           Physical findinos
           General appearance:
                °Oriented to time, place, and person missed the month (though it was April instead of May)
                      °Well developed. 0 Well nourished. °Healthy appearing. °In no acute distress.
           Neurological:
                °Speech was normal.
                Mental Status Findings: 0 Clothing was not dishevelled, °No decreased eye-to-eye contact was observed. 0 Mood was not
                     depressed describes his mood 'tired but OK' Affect --looks tired but euthymic, full range
                      °Mood was not anxious. °Affect was not inappropriate. °Memory was unimpaired. *Thought processes were not
                     impaired. *Thought content revealed no impairment. °No suicidal ideation. °No suicidal plans. 0 No suicidal intent.
                     °No homicidal ideations. °No homicidal plans. °No homicidal intent.
                Motor: °No bradykinesia was noted.

           A/P Written by ATWAL, NAVNEET K. (d1 08 May 2007 1013 EDT
           1. ADJUSTMENT DISORDER WITH DEPRESSED MOOD: and insomnia
                     Procedure(s):           -Psychiatric Evaluation Comprehensive Examination
                     Medication(s):          -SERTRALINE—P0 25MG TAB -T2 TAB PO QD #60 RE2 Qt: 60 Rf: 2Ordered By: ATWAL, NAVNEET K.
                                             Ordering Provider: ATWAL, NAVNEET K
                                             -TRAZODONE--P0 50MG TAB -TAKE HALF TO 1TAB AT BED TIME. #30 RF2 Qt: 30 RI: 2Ordered By:
                                             ATWAL, NAVNEET K. Ordering Provider: ATWAL, NAVNEET K
                     Laboratory(ies):        -B12+FOLATE PANEL (Routine) Ordered By: ATWAL, NAVNEET K. Ordering Provider: ATWAL,
                                             NAVNEET K; THYROID STIMULATING HORMONE (Routine) Ordered By: ATWAL, NAVNEET K.
                                             Ordering Provider: ATWAL, NAVNEET K
                     Patient Instruction(s): -Anticipatory Guidance: Concerns About Sleeping
                                             -Goals, Options, Limitations and Risks Of Therapy
                                             -Patient Education -Medication Adverse Reactions
                                             -Patient Education -Proper Use Of Medications
                                             -Retum To Clinic If Worse Or New Symptoms
           2. PSYCHIATRIC DIAGNOSIS OR CONDITION DEFERRED ON AXIS 11(0THER UNKNOWN AND UNSPECIFIED CAUSES OF
           MORBIDIT) AND MORTALITY, NOT POW SYNDROME)
           3. PSYCHIATRIC DIAGNOSIS OR CONDITION DEFERRED ON AXIS 111(0THER UNKNOWN AND UNSPECIFIED CAUSES OF
           MORBIDITY AND MORTALITY, NOT PGW SYNDROME): slp wound repair at buttocks
           4. AXIS IV PSYCHOSOCIAL AND ENVIRONMENTAL PROBLEMS: s/p Injury, on medhold, being away from family
           5. AXIS V GLOBAL ASSESS OF FUNCTIONING (GAF) SCALE                      (100-0): 65



Name:       ROMAN, MANUEL                        Sex:      NI                              Sponsor Name:   ROMAN, MANUEL
FMP/SSN:                                          DoD ID: 1272425414                       Rank:           SPECIALIST
DOB:       II.Jan 1976                            Tel H:   787-531-6916                    Unit:           WP I
                                                                                                              ATD   (0130 EN BN   FIHC CBT REAR)
PAT CAT: A15.2 USA NG ENLISTED                    Tel W:                                   OutPAT RR:
MC Status:                                        CS:                                      Insurance:      No
Status                                            PCM:                                     Tel. PCM:
CIC:


                              CIIRONOLOGICAL RECORD OF MEDICAL CARE                                                        STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT Of. pa(.T9-.179). UNAUTHORIZED ACCESS                                 Prescribed by GSA and ICMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LAV-MOIPLINMS WILL BE PROSECUTED.                                    FIRMR (41 CFR) 201-45.505
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   HEALTH RECORD                                                 CHRONOLOGICAL RECORD OF MEDICAL CARE
  08 May 2007 0900                  Facility: WRNMIVIC Clinic: Behavior Health Adult WR               Provider: ATWAL, NAVNEET K



             Disposition Written by ATWAL. NAVNEET K. aft 08 May 2007 1017 EDT
             Released w/o Limitations
             Follow up: as needed in 3week(s) week(s) in the BEHAVIOR HEALTH ADULT WR clinic or sooner if there are problems. -Comments: 1.
             Psycho education on diagnosis and medications reviewed with patient. Basic labs reviewed and ordered B12/folateaSh. After discussing with
             the pt about the medication options /Risks/benefits and Side effects of medication, started him on Trazodone 25 mg at bed time, can take upto
             50 mg this week, going upto 100 mg in 2-3 weeks to Rx insomnia. Increased the dose of Zoloft to 50 mg to minimize sx of depression.. Educated
             the pt about the impact of caffeine on sleep, encouraged him not to drink coffee after 2Pm, Sleep hygiene D/W the pt. Emergency procedures
             reviewed with patient if worsening symptoms or dangerousness Towards self or others.
             Discussed: Diagnosis, Medication(s)/Treatment(s), Alternatives, Potential Side Effects with Patient who indicated understanding.
             65 minutes face-to-face/floor time. >50% of appointment time spent counseling and/or coordinating care.



             Signed By ATWAL, NAVNEET K. (Staff Psychiatrist, Walter Reed Behavioral Health Clinic) @ 08 May 2007 1018




Name:        ROMAN, MANUEL                          Sex:     M                                Sponsor Name:    ROMAN, MANUEL
FIvIP/SSN:                                          DoD ID: 1272425414                        Rank:             SPECIALIST
DOB:         IMIJan 1976                            Tel H:   787-531-6916                     Unit:             WP1ATD       (0130 EN BN     HHC CBT REAR)
PAT CAT: A15.2 USA NG ENLISTED                      Tel W:                                    OutPAT RR:
MC Status:                                          CS:                                       Insurance:        No
Status                                              PCM:                                      Tel. PCM:
CIC:


                               CHRONOLOGICAL RECORD OF MEDICAL CARE                                                                   STANDARD FORM 600 (REV. 5)
     THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT 0    4    9A-4579). UNAUTHORIZED ACCESS                                         Prescribed by GSA and ICMR
         TO THIS INFORMATION IS A VIOLATION OF FEDERAL L        ITh'S WILL BE PROSECUTED.                                             FIRMR (41 CFR) 201-45.505
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                                                                 PSYCHOLOGICAL EVALUATION
                                                                      Confidential Report

                   Name                                                   :Manuel Roman Padilla
                   Age                                                    :32 years old
                   Date of Birth                                          :January 21, 1976
                   Date of Evaluation                                      December 3, 2007
                                                                           December 13, 2007
                                                                           December 14, 2007
                                                                           December 22, 2007
                                                                           January 10, 2008
                                                                           January 14, 2008
                                                                           January 25, 2008
                    Informant                                             :Mr. Manuel Roman Padilla
                    Level of Education                                    :Vocational School

                    Referral: Manuel Roman Padilla was referred for an evaluation because of
                    social/emotional problems and neurological problems

                    Psychological and Neuropsychological Test Administered:

                    --- Bender Gestalt
                    --- Memory for Designs
                    - MMPI 2
                    --- Rorschach Test
                    --- Trauma Symptom Inventory
                    --- Detailed Assessment of Posttraumatic Stress
                    --- Wechsler Adult Intelligence Scale —Third Edition
                    --- Wechsler Memory scales — Third Edition
                        Microcog —Assessment of Cognitive Functioning


                    Edificio Medico Hermanas Davila Calle B Esquina Jurb Urb. Hermanas Davila Bayamon P.R. 00959
                                                Telefono (787) 787-1314 (787) 778-2323




                                                                            ROMAN 022
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                    General Observations:
                                                                 •
                                                          ,
                           Manuel Roman Padilla is a34ear-old, well developed, well
                    nourished, young man. He is an average height, average weight, white
                    young man, who has black hair. His physical appearance was clean and
                    neat. His hair was combed. He came to the interview by himself. He came to
                    the testing situation by himself. Manuel was able to give information about
                    him. He entered the situation in apassive manner. His posture was erect
                    and tense. His gait was adequate. His psychomotor movements were
                    purposeful. There were no visible tics, rigidity of extremities, tremors or
                    mannerisms. His facial expression was friendly, yet very tense and anxious.
                    He was able to establish visual contact with the examiner. He behaved in a
                    friendly manner. His verbal expression was adequate. He used short phrases
                    and sentences, words and gestures to communicate with the examiner. He
                    spoke in alow tone of voice. His enunciation was adequate. He spoke when
                    spoken to at the beginning but as the process evolved he was spontaneous
                    and frank. His primary language is English; therefore the interview and
                    testing were conducted in English. His affect was mood congruent; his
                    mood was anxious and sad. He was oriented in person, time and place. He
                    was coherent and relevant. There was no evidence of delusions or thought
                    disorders at the present time. His thought process was adequate.
                           During the testing situation Manuel was cooperative and
                    spontaneous. He appeared to approach the required tasks with apparent
                    interest and effort. It was observed that his performance was impulsive. It
                    was also observed that during the testing sessions he was anxious, restless,
                    and exhibited alow frustration tolerance. In the mathematics subtest he used
                    his fingers to solve math problems. He also became confused in the Picture
                    Arrangement and Object Assembly sub test of the WATS III and instructions
                    had to be repeated.

                    Relevant History:

                           Manuel Roman Padilla is the second of three siblings. He was born
                    and raised in the United States. He added that he lived in Massachusetts
                    until he was twenty four. He then moved to Puerto Rico. Mr. Roman
                    referred that he was in arelationship for eight years and has three children.
                    He informed that they separated and his daughters live with their mother in
                    the United States. He referred that he is in acommitted relationship at the
                    present time. He added that she is pregnant.

                                                                                                                       2




                                                                ROMAN 023
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                            He informed that to his knowledge his mother had no problt
                    during her pregnancy or delivery. He added that his psychomotor;
                    development was as follows within the expected norms.
                            In relation to his academic history, Mr. Roman referred thaeie
                    completed aHigh School Education. He added that he attended aPublic
                    School and received average grades. He informed that he liked Elementary
                    and Middle School but disliked High School. He denied Academic or
                    Behavioral problems in school.
                            In relation to his occupational history, Mr. Roman referred that his
                    first job was in afactory in the United States. He informed that he worked
                    there for six years. He then moved to Puerto Rico and worked three years in
                    aSchool Supply.
                            In relation to his military history, Mr. Roman referred that he has
                    served in the army for three years. He joined the National Guard Army on
                    April 26, 2004. He referred that he was activated in June 2006 and sent to
                    Wisconsin for three months. He was then sent to Kuwait for one week and
                    'Amu LU Ham.
                            T



                           He referred that on March 29, 2007 while doing road clearance in
                    Baghdad at eight o'clock at night they were hit by an EFP. He informed he
                    was the gunner and he fell to the ground from about aheight of six feet. He
                    referred he received injuries to his lower back, lumbar area, spine, and
                    buttocks. He informed that as aconsequence of the explosion he had
                    herniated discs, afractured spine, and had multiple pieces of shrapnel all
                    over his body, but no loss consciousness. He added that he exposed to
                    explosion on multiple occasions before he was injured. He continued to
                    inform that after he was injured he was sent to Kuwait. He was later on
                    transferred to Germany and then to Walter Reed. He reported he underwent
                    seven operations at Walter Reed. He also received psychological and
                    psychiatric treatment. He then was transferred to Fort Buchanan in Puerto
                    Rico. He is presently on medical hold at Fort Buchanan.
                           In relation to his medical history, Mrs. Roman referred he had been a
                    rather healthy person until his injuries in Iraq. Mr. Roman referred that since
                    the his injuries he feels restless, tired, moody, easily frustrated, wants to be
                    alone, feels depressed, and cannot sleep. He added that he has gained ten
                    pounds in amonth or two. He also informed that he gets very angry, is
                    disrespectful, and becomes verbally aggressive. He continued to say that he
                    has headaches, and back pain. He added that he has nightmares, flashbacks,
                    is unable to relax, and feels anxious, tense and panicky at times. He referred
                    concentration difficulties, memory problems and difficulty in making


                                                                                                                        3




                                                                ROMAN 024
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                    decito s. He informed that he feels worthless, useless, inadequate, lonely,
                    misup    stood, confused and full of regrets.
                        •    .Roman referred on Intake that he was taking the following
                    mediNtion: Oxycodone four times aday; Effexor XR 37.5 mg at 4:30 pm
                    and 150 mg am; Relafen 750 mg every 12 hours; Norflex 100 mg twice a
                    day when needed; Neurontin 400 mg at bedtime; Prosom 2mg on hour
                    before bedtime; Zyrtec 10 mg; Elavil 100mg at bedtime. On January 11,
                    2008 he informed that his medication had been increased as follows:
                    Effexor 150 mg am and 75 mg in the afternoon; Neurontin 600 mg twice a
                    day; Elavil 150 mg at bedtime and Dalmane 30 mg at bedtime; Oxycodone
                    four times aday; Percoset 2tablets every six hours.

                    Analysis of Psychological Findings:

                    SCORES SUMMARY
                    WAIS-III                                                WMS-III
                     SCALE                                  SCORE            INDEXES                               SCORE
                    Verbal (VIQ)                              76            Auditory Immediate                       62
                    Performance (PIO)                         72            Visual Immediate                         57
                    Full Scale (FSIQ)                         72            Immediate Memory                         51
                                                                            Auditory Delayed                         61
                                                                            Visual Delayed                           59
                                                                            Auditory Recog. Delayed                  55
                                                                            General Memory                           51
                                                                            Working Memory                           76

                    Interpretation of WAIS-III Results

                    WA1S General Intellectual Ability


                           Manuel was administered 14 subtests of the Wechsler Adult
                    Intelligence Scale-Third Edition (WAIS-III) from which his IQ and Index
                    scores were derived. The Full Scale IQ is the aggregate of the Verbal and
                    Performance scores and is usually considered to be the most representative
                    measure of g, or global intellectual functioning. Manuel's general cognitive
                    ability is in the Borderline range of intellectual functioning, as measured by
                    the Wechsler Adult Intelligence Scale -Third Edition (WAIS-III). His
                    overall thinking and reasoning abilities exceed those of approximately 3.0%
                    of adults his age (FSIQ = 72; 95% Confidence Interval = 68-77). Manuel
                    may experience difficulty in keeping up with his peers in awide variety of
                    situations that require age appropriate thinking and reasoning abilities.

                    Verbal and Performance Abilities


                          The Verbal score is ameasure of acquired knowledge, verbal
                    reasoning, and comprehension of verbal information. His verbal reasoning
                                                                                                                        4



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                                                                     k
                     abilities, as measured by the Vella)ii TQ, are in the Borderline range and
                     above those of approximately 5.0V fhis peers (VIQ = 76, 95% Confidence
                     Interval = 72-82). On the verb4tr asoning subtests, Manuel obtained his
                     highest score(s) on the Digit SpaAubtest(s). His performance on this
                     subtest differs significantly from his Verbal subtest mean score and suggests
                     that this is the area of most pronounced strength in Manuel's profile of
                     verbal reasoning abilities. The Verbal Comprehension Index (VCI) is
                     similar to the Verbal IQ in that it provides ameasure of verbal acquired
                     knowledge and verbal reasoning. However, it does not include the
                     measures of abilities related to working memory, such as holding
                     information to perform aspecific task. Therefore, the Verbal
                     Comprehension Index may be considered apurer measure of verbal
                     comprehension than is the Verbal IQ. In Manuel's case, his Verbal
                     Comprehension Index score is generally comparable to his Verbal IQ score.
                     On the Verbal Comprehension Index, Manuel's performance is below that of
                     his peers. His ability to understand and respond to verbally presented
                     material is better than that of only 5.0% of others his age (VCI = 76, 95%
                     Confidence Interval = 71-83). A relative weakness in comprehending verbal
                     information may impede Manuel's ability to learn new material.
                            The Performance score provides an indication of an individual's
                     nonverbal reasoning, spatial processing skills, attentiveness to detail and
                     visual-motor integration. His nonverbal reasoning abilities, as measured by
                     the Performance IQ, are in the Borderline range and better than those of
                     approximately 3.0% of his peers (PIQ = 72, 95% Confidence Interval = 67-
                     80). On the nonverbal reasoning tasks, Manuel obtained his highest
                     score(s) on the Digit-Symbol Coding subtest(s) and his lowest score(s) on
                     the Object Assembly and Picture Completion subtest(s). In Manuel's profile
                     of nonverbal reasoning abilities, his performance across these areas differs
                     significantly and suggests that these are areas of relative strength and
                     weakness, respectively. Although better than his performance on the other
                     nonverbal reasoning subtests, Manuel's ability on the Digit-Symbol Coding
                     subtest(s) is still below that of most individuals his age. His weak
                     performance on the Object Assembly and Picture Completion subtest(s) is
                     below that of most of his peers. The Perceptual Organization Index (POI)
                     is actually apurer measure of nonverbal reasoning than is the Performance
                     IQ. The POI measures fluid reasoning, spatial processing, attentiveness to
                     detail, and visual motor integration. However, it does not measure the
                     individual's speed in processing information or performing simple tasks
                     related to that information. In Manuel's case, his Perceptual Organization
                     Index score is comparable to his Performance IQ score. Manuel's nonverbal




                                                                 ROMAN 026
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                                                                                                            k
                     reasoning abilities are less developed than those of his peers. fp '.
                     performance on the Perceptual Organization Index exceeds that         only
                     2.0% of his age-mates (POI = 70, 95% Confidence Interval =.:65-79).
                           His ability to think with words is comparable to his abilh to reason
                     without the use of words. Both Manuel's verbal reasoning and nonverbal
                     reasoning abilities are also in the Borderline range.

                     Working Memory Abilities


                           The Working Memory Index ('WMI) provides information regarding
                     an individual's ability to attend to verbally presented information, to process
                     information in memory, and then to formulate aresponse. Compared to his
                     peers, Manuel may experience difficulty in holding information to perform a
                     specific task. Difficulties with working memory may make the processing of
                     complex information more time-consuming for Manuel, drain his mental
                     energies more quickly, and perhaps result in more frequent errors on a
                     variety of learning tasks, in comparison to other adults his age. On the
                     Working Memory Index, he performed better than 3.0% of his peers (WMI
                     = 71, 95% Confidence Interval = 66-80). On the subtests which compose
                     the Working Memory Index, Manuel obtained his highest score on the Digit
                     Span subtest. His ability to process and store information (e.g., numbers)
                     simultaneously and to verbally express this information according to a
                     specified sequence may be arelative strength compared to his overall level
                     of working memory abilities.

                     Processing Speed Abilities


                            The Processing Speed Index (PSI) provides ameasure of an
                     individual's ability to process simple or routine visual information quickly
                     and efficiently and to quickly perform tasks based on that information.
                     Manuel's skill in processing visual material without making errors is below
                     that of his peers. His performance on the Processing Speed Index was better
                     than only 10.0% of his age-mates (PSI = 81; 95% Confidence Interval =74-
                     92). A relative weakness in processing speed may make the task of
                     comprehending novel information more time-consuming and difficult for            .
                     Manuel. Manuel's abilities on the subtests that compose the Processing
                     Speed Index are all in the Low Average range. His performance across these
                     subtests varies little, suggesting that his abilities are comparable across this
                     domain.




                                                                                                                          6



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                     Lvterpretation of WMS-III Results


                            The WMS-III report is organized into six sections: 1) Working
                       emory; 2) Ability to learn and retain new material; 3) Auditory Learning;
                     4    odality-specific memory; 5) Retention of information; and 6) Retrieval
                     of information. Each section is intended to provide interpretive hypotheses
                     regarding various aspects or processes involved in one's ability to process
                     and retrieve newly learned information.
                            It is also important to take into consideration other factors that may
                     have contributed to Manuel's test performance such as difficulties with
                     vision, hearing, motor functioning, English language and speech/language
                     performance. According to the background information provided, none of
                     these specific factors were identified in the background screens. However,
                     you should evaluate all background information and use your professional
                     judgment when evaluating the interpretive hypotheses in this report.

                     Working Memory


                            The Working Memory Index of the WMS-III is ameasure of an
                     individual's ability to hold information temporarily in memory for the
                     purpose of using that information to perform aspecific task. Working
                     memory (i.e., ahigher level attentional ability) is an important prerequisite
                     of many cognitive abilities such that inadequate working memory skills will
                     likely affect an individual's ability to perform other mental operations
                     efficiently.
                             Compared to his age peers, Manuel experiences difficulty holding
                     auditory and visual-spatial information in temporary storage. He
                     experiences arapid loss of relevant information required to accurately
                     perform mental operations at the level of his peers. Manuel's score, which
                     is in the Borderline classification range, exceeds that of only 5.0% of
                     individuals in his age group (Wkg Mem Index=76, Confidence Interval=70-
                     89).
                             The difference between Manuel's WAIS-HI VIQ and WMS-III
                     Working Memory indicates that his working memory skills are
                     commensurate with his level of intellectual functioning.

                     Ability to Learn and Remember New Material


                           Learning refers to aperson's ability to encode and store novel
                     information while memory refers to the persistence of learned material that
                     can be retrieved after abrief (immediate) or long (delayed) interval. The
                     WMS-III is intended to provide information regarding learning and memory
                                                                                                                         7



                                                                 ROMAN 028
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                    under aspecific set of conditions but t ot intended to provide direct
                    information regarding academic achieve      nt or to reflect the more general
                    academic usage of the term ability tolca .
                           In situations requiring Manuel Aremember new information, he may
                    experience significant difficulty. Manuel's poor performance on immediate
                    memory measures may account for functional difficulties in daily living and
                    other cognitive domains relative to the performance of his peers. His score
                    on the Immediate Memory Index is in the Extremely Low classification
                    range and exceeds that of only 0.1% of individuals in his age group (Imm
                    Mem Index=51, Confidence Interval=47-63).
                           Manuel's scores on the Auditory Immediate and Visual Immediate
                    indexes are comparable and suggest approximately equal capabilities in
                    both modalities.
                           Manuel showed very significant difficulty in retrieving recently
                    learned information after a25- to 35-minute delay. His low performance on
                    the general memory measures will negatively affect functioning in daily
                    living and perhaps in other cognitive domains relative to the performance of
                    his peers. His General Memory Index score is in the Extremely Low
                    classification range and exceeds that of only 0.1% of individuals in his age
                    group (Gen Mem Index= 51, Confidence Interval=47-63).
                           Manuel's scores on the Auditory Delayed and Visual Delayed indexes
                    are comparable and suggest approximately equal capabilities in both
                    modalities.
                           Manuel's immediate and delayed memory capabilities are lower than
                    expected relative to his overall intellectual functioning as measured by the
                    VIQ. The VIQ -Immediate Memory Index difference occurred for <1% of
                    the normative group, and the VIQ -General Memory Index difference
                    occurred for <1% of the normative group. This pattern suggests arelative
                    weakness or deficit in both immediate and delayed memory.

                    Auditory Learning


                            On the WIVIS-III, the rate at which an individual learns new
                    information is determined by the difference between the amount of
                    information learned after asingle presentation of the material and the
                    amount of information learned after multiple learning trials. The Single-
                    Trial Learning and Learning Slope process composites provide information
                    regarding the extent to which repetition of information improves auditory
                    memory functioning.
                            Compared to the performance of individuals of similar age, Manuel's
                    initial acquisition of auditory information after asingle presentation is in the

                                                                                                                        8



                                                                ROMAN 029
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                                                                                                            A    ,
                            Manuel's performance on the Auditory Recognition DelayectI dex
                     (Aud Rec Del Index=55, Confidence Interval=56-78) and the Ault
                     Delayed Index (Aud Del Index=61, Confidence Interval-57-75) 6$ss not
                     indicate retrieval difficulties. That is, his recognition of auditory 'N
                     information is not substantially greater than his retrieval of auditory
                     information through recall.

                     Subtest Scores Summary



                                                                  Raw                                Reference
                     Verbal Subtests                             Score       Age SS        PR           SS*
                     Vocabulary                                    20           5           5            5
                     Similarities                                  11          5            5            5
                     Arithmetic                                     7          4            2            5
                     Digit Span                                    16          9           37            9
                     Information                                    9          7           16            7
                     Comprehension                                 13          6            9            7
                     Letter-Number Sequencing                       4          3            1            3

                     Subtest Scores Summary



                                                                  Raw                                Reference
                     Performance Subtests                        Score       Age SS        PR           SS*
                     Picture Completion                             9          4            2            4
                     Digit Symbol-Coding                           61          7           16            7
                     Block Design                                  20          6            9            6
                     Matrix Reasoning                               6           5           5            5
                     Picture Arrangement                            6           5           5            5
                     Symbol Search                                 22           6           9            6
                     Object Assembly                               13           4           2            4

                     *Reference Group for ages 20-34

                     Summary of WMS-111 Primary Subtest Scores

                     Primary Subtest Scores                               Raw    Age SS     Ref SS
                                                                         Score
                     Logical Memory I-Recall                               19        4          4
                     Faces] -Recognition                                   24        4          4
                     Verbal Paired Assoc I-Recall                           2        3          3
                     Family Pictures I-Recall                              16        3          2
                     Letter-Number Sequencing                               5        4          4
                     Spatial Span                                          12        7          6
                     Logical Memory II -Recall                              7        4          4
                     Faces II -Recognition                                 26        5          4
                     Verbal Paired Assoc II -Recall                         0        3          2
                     Family Pictures II -Recall                            14        2          2
                     Auditory Recognition -Delayed                         28        1          1




                                                                                                                     10



                                                                 ROMAN 030
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                             eMicrocog was designed to be sensitive to detecting cognitive
                    impai,nt across awide age range and takes into account levels of
                    prevar id intellectual functioning by providing age-- and education- level.
                    Mans was administered the Standard Form which contains 18 subtest.
                          The General Cognitive Functioning Index score is aglobal measure
                    of neurocognitive ability based upon performance on the Information
                    Processing Speed and Information Processing Accuracy Indexes. Accuracy
                    and speed of performance are considered equally important. Relative to
                    individuals with comparable age and education, Manuel is currently
                    functioning in the Low Average range (70) on astandardized measure of
                    General Cognitive Functioning. His scores might indicate some generalized
                    impairment in the examinee's neurocognitive functioning.
                           The score on the General Cognitive Proficiency Index is aglobal
                    measure of neurocognitive ability based upon the average of subtest
                    proficiency scores. Proficiency scores are defined as the speed with which
                    perceptual processing, semantic retrieval, and correct-response execution
                    occurs. They are derived from the interaction of response accuracy and an
                    exponential weighting of correct response latencies at the item level. As
                    such, proficiency scores tap the interaction between accuracy and speed of
                    performance and place primary emphasis on accuracy rather than on speed.
                    Proficiency represents asensitive index of mastery and competence. He is
                    also currently functioning in the Low Average range (72) on astandardized
                    measure of General Cognitive Proficiency; which indicates Manuel's
                    reduced cognitive competence due to slow or inaccurate cognitive
                    processing.
                           The Attention/Mental Control Index taps afull range of simple and
                    complex attentional functions. Relative to individuals with comparable age
                    and education, Manuel is currently functioning in the Low Average range
                    (79) on astandardized measure of Attention/Mental Control. His score
                    could indicate impairment in his ability to focus, hold, divide, and sustain
                    attention. This index assesses selective attention, processing speed,
                    attentional capacity, working memory, and vigilance.
                           The Memory Index targets immediate and delayed recall for
                    meaningful verbal material. Relative to individuals with comparable age and
                    education, Manuel is currently functioning in the Low Average range (79)
                    on astandardized measure of Memory. His score could indicate impairment
                    in the individual's verbal learning and memory.
                           The Reasoning/Calculation Index requires problem-solving in verbal,
                    nonverbal, and numeric areas. Relative to individuals with comparable age
                    and education, Manuel is currently functioning in the Average range (86) on

                                                                                                                        11



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                     astandardized measure of Reasorin       Calculation. His score might indicate
                     strength in the examinee's abstraati ,reasoning, and problem solving
                     abilities.
                             The Spatial Processing IndAencompasses several aspects of spatial
                     processing including visual discrimination, perception of spatial orientation,
                     spatial relations, and spatial memory. Demands on motor systems are
                     minimal. Relative to individuals with comparable age and education,
                     Manuel is currently functioning in the Below Average range (64) on a
                     standardized measure of Spatial Processing. A low score might indicate
                     impairment in the examinee's non-motor visual-perceptual cognitive
                     processing.
                           The Reaction Time Index score is ameasure of simple auditory and
                    visual reaction time with selective cuing. Relative to individuals with
                    comparable age and education, Manuel is currently functioning in the
                    Below Average range (63) on astandardized measure of Reaction Time.
                    Low scores could indicate impairment in the individual's arousal, alertness,
                    or attention. Low scores may suggest his impaired ability to orient, identify,
                    and react to salient environmental events.
                           The Information Processing Speed Index is ameans of measuring the
                    time the individual required to complete simple and complex mental tasks;
                    accuracy is disregarded. Relative to individuals with comparable age and
                    education, Manuel is currently functioning in the Low Average range (84)
                    on astandardized measure of Information Processing Speed. Low scores
                    could indicate slowed cognitive processing.
                           The Information Processing Accuracy Index taps domain based
                    competencies, and its scores reflect the accuracy of performance (i.e.,
                    correct or incorrect responses) without regard to speed. Relative to
                    individuals with comparable age and education, Manuel is currently
                    functioning in the Below Average range (65) on astandardized measure of
                    Information Processing Accuracy. Low scores suggest that basic cognitive
                    abilities have been compromised.
                           Manuel demonstrated asevere relative weakness in —The Information
                    Processing Accuracy Index relative to The Information Processing Speed
                    Index. The discrepancy is both significant and rare. His performance pattern
                    was rapid and inaccurate.
                           Manuel demonstrated asevere relative weakness in —The Information
                     Processing Speed Index relative to General Cognitive Proficiency Index.
                     The discrepancy reflects an impulsive style which may be coupled with
                     cognitive limitations.


                                                                                                                     12




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                    Summary Index Table

                     Age and Education Corrected Norms                                                     •   y
                     (
                     Age: 25 -34, Education: = High School )
                                                               Sum     Scaled    %Ile    95% Conf. Qualitaae Description
                                                                       Score              Interval
                     Level 3— Indexes
                     General Cognitive Functioning (GCF)       149       70        2       63-77     Low Average
                     General Cognitive Proficiency (GCP)        59       72        3       66-78    Low Average
                     Level 2— Indexes
                     Information Processing Speed (IPS)         78       84       14       77-91    Low Average
                     Information Processing Accuracy (IPA)      74       65        1       56-74     Below Average
                     Level 1— Indexes
                     Attention/Mental Control (Attn)            56       79        8       68-90     Low Average
                     Reasoning/ Calculation (Reas)              51       86       18       75-97    Average
                                                                                                                              ,
                     Memory (Mem)                               43       79        8       69-89    Low Average
                     Spatial Processing (Spat)                  21       64        1       52-76    Below Average
                     Reaction Time (RT)                         30       63        1       55-71    Below Average
                     Reference Group Norms
                                                               Sum     Scaled    %Ile    95% Conf. Qualitative Description
                                                                       Score              Interval                         ,
                     Level 3— Indexes
                     General Cognitive Functioning (GCF)       141       63        1                Below Average
                     General Cognitive Proficiency (GCP)        58       70        2                Low Average
                     Level 2— Indexes
                     Information Processing Speed (IPS)         75       82       12                Low Average
                     Information Processing Accuracy (IPA)      67       59       <1                Below Average
                     Level 1— Indexes
                     Attention/Mental Control (Attn)            54       77        6       65-89     Low Average
                     Reasoning/ Calculation (Reas)              49       83       13       71-95    Low Average
                     Memory (Mem)                               37       69        2       58-80     Below Average
                     Spatial Processing (Spat)                  22       65        1       53-77     Below Average
                     Reaction Time (RT)                         24       57       <1       50-65     Below Average


                                The results of the Bender Gestalt reveal ascore of 10 in the Hain
                    Scoring System which reflects aBorderline Range of Brain Damage. The
                    recall retest revealed memory problems. The results also suggest emotional
                    indicators such as insecurity, anxiety, hesitancy, self doubt with difficulty
                    completing tasks, aggressiveness, and impulsiveness.
                                The results of the Memory for Designs revealed ascore of 19
                    which places him in the range of Brain Damage.
                                The results of the MIV1PI 2indicate that this is avalid clinical
                    profile. This report was developed using the D and Pt scales as the
                    prototype. The client's M:MPI-2 clinical profile reflects much psychological
                    distress at this time. He has major problems with anxiety and depression. He
                    tends to be high-strung and insecure, and he may also be having somatic


                                                                                                                        13



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                 • problems. He is probably experiencing loss of sleep and appetite and
                   .srw ness in personal tempo.
                           Individuals with this profile often have high standards and astrong
                    seed to achieve, but they feel that they fall short of their expectations and
                    then blame themselves harshly. Manuel feels quite insecure and
                    pessimistic about the future. He also feels quite inferior, has little self-
                    confidence, and does not feel capable of solving his problems.
                           Manuel seems to have arather limited range of cultural interests and
                    tends to prefer stereotyped masculine activities to literary and artistic
                    pursuits or introspective experiences. Interpersonally, he may be somewhat
                    intolerant and insensitive.
                             In addition, the following description is suggested by the Manuel's
                     scores on the content scales. He endorsed anumber of items suggesting
                     that he is experiencing low morale and adepressed mood. He reports a
                     preoccupation with feeling guilty and unworthy. He feels that he deserves
                     to be punished for wrongs he has committed. He feels regretful and
                     unhappy about life, and he seems plagued by anxiety and worry about the
                     future. He feels hopeless at times and feels that he is acondemned person.
                     He endorsed response content that reflects low self-esteem and long-
                     standing beliefs about his inadequacy. He has difficulty managing routine
                     affairs, and the items he endorsed suggest apoor memory, concentration
                     problems, and an inability to make decisions. He appears to be
                     immobilized and withdrawn and has no energy for life. He views his
                     physical health as failing and reports numerous somatic concerns. He feels
                     that life is no longer worthwhile and that he is losing control of his
                     thought processes.
                             According to his response content, there is astrong possibility that
                     he has seriously contemplated suicide. Manuel's recent thinking is likely
                     to be characterized by obsessiveness and indecision. His response content
                     suggests that he feels intensely fearful about alarge number of objects
                     and activities. This hypersensitivity and fearfulness appear to be
                     generalized at this point and may be debilitating to him in social and
                     work situations. He endorses statements that show some inability to
                     control his anger. He may physically or verbally attack others when he is
                     angry. His high endorsement of general anxiety content is likely to be
                     important to understanding his clinical picture.
                             Long-term personality factors identified by his PSY-5 scale
                     elevations may help provide a clinical context for the symptoms he is
                     presently experiencing. He shows a meager capacity to experience
                     pleasure in life. Persons with high scores on INTR (Introversion/Low

                                                                                                                      14



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                     Positive Emotionality) tencli tç .be pessimistic. According to his score on
                     NEGE (Negative Emotionili           euroticism), he tends to view the world
                     in ahighly negative mannt4r,arid usually develops aworst-case scenario to
                     explain events affecting hiN He tends to worry to excess and interprets
                     even neutral events as problematic. His self-critical nature prevents him
                     from viewing relationships in apositive manner.
                            The relative elevation of the highest scales in his clinical profile
                     shows very high profile definition. His scores on D and Pt are likely to be
                     very prominent in his profile if he is retested at alater date.
                            He appears to be quite passive and dependent in interpersonal
                     relationships and does not speak up for himself even when others take
                     advantage of him. He avoids confrontation and seeks nurturance from
                     others, often at the price of his own independence. He forms deep
                     emotional attachments and tends to be quite vulnerable to being hurt. He
                     also tends to blame himself for interpersonal problems. Individuals with
                     this profile are often experiencing psychological distress in response to
                     stressful events. The intense feelings may diminish over time or with
                     treatment.
                            He appears to be rather shy and inhibited in social situations, and he
                     may avoid others for fear of being hurt. He has very few friends, and
                     others think he is hard to get to know. He is quiet, submissive, and
                     conventional, and he lacks self-confidence in dealing with other people.
                     Individuals with this passive and withdrawing lifestyle are often unable to
                     assert themselves appropriately and are frequently taken advantage of by
                     others. Personality characteristics related to social introversion tend to be
                     stable over time. His generally reclusive behavior, introverted lifestyle,
                     and tendency toward interpersonal avoidance may be prominent in any
                     future test results.
                            Manuel's scores on the content scales suggest the following
                     additional information concerning his interpersonal relations. He appears
                     to be an individual who has rather cynical views about life. Any efforts to
                     initiate new behaviors may be colored by his negativism. He may view
                     relationships with others as threatening and harmful. He feels intensely
                     angry, hostile, and resentful of others, and he would like to get back at
                     them. He is competitive and uncooperative, tending to be very critical of
                     others. His social relationships are likely to be viewed by others as
                     problematic. He may be visibly uneasy around others, sits alone in group
                     situations, and dislikes engaging in group activities.
                            The results of the Rorschach Test point toward aperson with some
                     inner resources who has difficulty in using his inner resources to deal

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                   with every day living challenges. He tends to be overly inhAb ed in
                   expressing his emotions. He tends to be inflexible and has;ft       ficult time
                   accepting and adjusting to change. The results also suggerg le presence
                   of anger, hostility, impulsiveness, and the possibility of acti    out. He
                   also tends to see himself as surrounded by threatening persons. The
                   results suggest that his controls are brittle and may become overwhelmed
                   by his emotions. The results suggest he tends to be more labile,
                   suggestible, sensitive and irritable than most people. He tends to be
                   oversensitive in personal relationships and may feel uncomfortable in
                   social situations. He may also be highly defensive and constricted. The
                   results suggest constrained, internal and painful affects.
                          The results of the Detailed Assessment of Posttraumatic Stress
                   (DAPS) provide         detailed   information about an          individual's
                   symptomatic responses to a specific traumatic event. This includes
                   feelings and thoughts that occurred during or soon after the event, as
                   well as later posttraumatic symptoms involving intrusive reliving of the
                   event, avoidance, and autonomic hyperarousal.                 Posttraumatic
                   dissociation, suicidality, and substance abuse are also evaluated by the
                   DAPS. This information can yield, among other things, adiagnosis of
                   potential posttraumatic stress disorder (PTSD) or acute stress disorder
                   (ASD), as well as information about the severity of the individual's
                   posttraumatic symptoms. The DAPS also may identify individuals at
                   risk for self-destructiveness and serious substance abuse.

                   Validity Scales

                                    Scale                                       Raw score           T score
                                    Negative Bias (NB)                              19                137

                                    Positive Bias (PB)                               4                49


                   Trauma Specification Scales

                                        Index Trauma                           Description
                                             7           Respondent reports having been in awar.

                                     Scale                                      Raw score           T score
                                     Relative Trauma Exposure (RTE)                  2                46
                                     Peritraumatic Distress (PDST)                  29                 70
                                     Peritraumatic Dissociation (PDIS)               19                73



                    Clinical Scales

                                Scale                                                Raw score              T score
                                Reexperiencing (RE)                                       40                  109

                                                                                                                          16



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                                 Avoidance (A                                           41                  110
                                        Effortful Avoidance (A V-E) *                    15                 98
                                        Numbing (A V-N) *                               20                  115
                                 Hyperarousal (AR)                                      43                  103
                                 Posttraumatic Stress -Total (PTS-T)                    124                 110
                                 Posttraumatic Impairment (IMP)                          19                 92
                                 Trauma-Specific Dissociation (T-DIS)                    15                 110
                                 Substance Abuse (SUB)                                   14                 65
                                 Suicidality (SU/)                                       10                 47




                          Manuel's T score on the Negative Bias (NB) scale is elevated,
                    indicating that he endorsed items that were rarely endorsed by traumatized
                    individuals in the standardization sample. He may be experiencing an
                    unusual number of atypical symptoms.

                    Index Trauma

                           The index trauma is the trauma that the respondent (or his therapist)
                    selected as the most upsetting or most clinically important at this point in
                    time. All subsequent responses on the DAPS are given with reference to
                    this index trauma.

                           Manuel indicated on the DAPS that his index trauma is having been
                    in awar. He described this trauma in the following manner: "I was blown
                    up by an EFO explosive causing injuries to my back, lumber spine,
                    buttocks, and alot of pain." The traumatic experience occurred ayear ago
                    or longer.

                    Trauma History

                           Although the respondent specified an index trauma on which to base
                    his item endorsements on the DAPS, in many cases an individual's response
                    to a given traumatic event is affected by other traumas occurring either
                    before or after the index event. These additional traumas also may produce
                    significant symptomatology, including the possibility of separate PTSD
                    and/or ASD diagnoses associated with these other traumas.
                           His Relative Trauma Exposure (RTE) T score is 46, indicating that the
                    total number of trauma types to which he has been exposed is about average
                    among people who report atrauma history. However, this does not mean
                    that he has not had numerous trauma exposures within agiven trauma type.




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                     Peritraumatic Distress (PDST)
                                                                                         ,
                            Manuel's subjective response to the index trauma described hove is
                     evaluated on the DAPS at two levels. At the general level, his score on the
                     Peritraumatic Distress (PDST) scale indicates the degree of negative
                     emotionality and negative thoughts he experienced at the time of, or soon
                     after, the trauma.      Various studies indicate that higher levels of
                     peritraumatic distress are associated with greater traumatization and a
                     greater likelihood of developing PTSD or ASD. At the specific level, his
                     endorsements of the individual items on the PDST scale can be interpreted
                     in terms of the amount of fear, horror, disgust, etc., that he experienced at
                     the time of the trauma as compared to others who have been exposed to
                     trauma.

                            Manuel has a T score of 70 on the PDST scale, indicating that he
                     experienced more distress during or soon after the index trauma than the
                     average trauma victim. Peritraumatic distress at this level indicates that he
                     was significantly traumatized by what he experienced, and thus he is likely
                     to report significant posttraumatic symptomatology.

                     Peritraumatic Dissociation (PDIS)

                            Peritraumatic dissociation refers to alterations in awareness,
                     especially those involving depersonalization and derealization, which occur
                     during a traumatic event. Such responses may arise when a sufficiently
                     destabilizing event temporarily overwhelms the individual's nervous
                     system, or may represent the activation of previous dissociative capacities in
                     the face of new emotional distress. Research indicates that individuals who
                     dissociate at the time of atrauma have a greater likelihood of developing
                     ASD or PTSD later on.
                            Manuel has a Tscore of 73 on the Peritraumatic Dissociation (PDIS)
                     scale, indicating clinically significant levels of peritraumatic dissociation at
                     the time of the index trauma.

                     Posttraumatic Stress Scales

                           The posttraumatic stress scales of the DAPS evaluate (a) the extent to
                     which the respondent is experiencing each of the three clusters of symptoms
                     common      to   PTSD     and   ASD     (i.e.,  intrusive reexperiencing,
                     avoidance/numbing, and autonomic hyperarousal), (b) the overall severity
                     of his posttraumatic stress symptoms, and (c) the impact these symptoms
                     may be having on his overall psychosocial functioning.


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                     Reexperiencing (RE)              4.1


                            The RE scale asZe es the reexperiencing symptom cluster of PTSD
                     and ASD. This clust4, generally involves intrusive thoughts about the
                     trauma, flashbacks, upsetting memories, and dreams or nightmares of the
                     traumatic event, as well as psychological distress and autonomic reactivity
                     upon exposure to trauma-reminiscent events. Reexperiencing is often, but
                     not inevitably, triggered by a stimulus in the environment that is in some
                     way similar to aspects of the original trauma. When the intrusive memories
                     are sensory, as occurs in flashbacks, they may consist of auditory, visual,
                     olfactory, tactile, or gustatory sensations associated with the original event.
                     These intrusive sensations and memories are often experienced as ego-
                     dystonic and quite upsetting, and may trigger asense of reliving the original
                     traumatic event.

                            Manuel's T score on the RE scale is 109. This suggests that he is
                     undergoing significant posttraumatic stress. He is regularly bothered by
                     intrusive recollections of the traumatic event and may feel unable to control
                     these reexperiencing symptoms. An elevated score at this level on the RE
                     scale is often accompanied by attempts to avoid environmental events that
                     might trigger more reexperiencing.

                     Avoidance (A V)

                            The AV scale consists of those avoidance responses subsumed under
                     Criterion C symptoms of PTSD and, to some extent, Criterion B and D
                     symptoms of ASD, as described in the DSM-1V-TR.              These responses
                     include not only conscious attempts to avoid people, places, conversations,
                     and situations that might trigger flashbacks or other intrusive reexperiencing
                     symptoms, but also emotional numbing and constriction. Certain AV items,
                     such as not wanting to talk about the traumatic experience and avoiding
                     environmental stimuli that might trigger traumatic memories, represent what
                     is sometimes referred to as efforul avoidance. Other AV items, such as loss
                     of interest in activities and feeling disconnected from others, tap emotional
                     constriction and numbing, which is thought to be afunctionally independent
                     component of PTSD, although it is currently subsumed under the avoidance
                     cluster of symptoms. This second group of symptoms is sometimes known
                     as the numbing cluster and often it is more associated with posttraumatic
                     hyperarousal than with effortful avoidance. This report includes scores, and
                     their interpretation, for two subscales of the AV scale — Effortful
                     Avoidance (A V-E) and Numbing Avoidance (A V-N).             Each of these


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                                                                         i
                            Based on the respondent's T score of 1104o)4'    the PTS-T scale, the
                     overall severity of his posttraumatic stress symptops    in the severe range.
                                                                       d‘ &t
                     Posttraumatic Impairment (IMP)                       N
                           The IMP scale assesses the respondent's self-reported level of
                     psychosocial impairment as aresult of the effects of the index trauma. An
                     elevated score on this scale is also required for aDSM-IV-TR diagnosis of
                     PTSD or ASD. IMP scale items involve having trouble at work, school,
                     social situations, relationships, or other aspects of one's life. As a result,
                     scores on this scale can be used as an indication of the overall functional
                     impairment associated with his posttraumatic symptomatology. However,
                     the clinician should keep in mind that this is the respondent's subjective
                     estimate of his dysfunction.

                            Manuel's T score on the IMP scale is 92, indicating that he reports
                     that the effects of the index trauma are significant, to the extent that his
                     ability to function on an ongoing basis has been compromised.

                    Associated Features Scales

                           The Associated Features scales of the DAPS evaluate three important
                     psychological issues that are often comorbid with posttraumatic stress:
                     posttraumatic dissociation, substance abuse, and suicidality.

                     Trauma-Specific Dissociation (T-DIS)

                            The T-DIS scale evaluates derealization, depersonalization, and
                     detachment symptoms that can persist following exposure to a traumatic
                     event. T-DIS scale items specifically tap the posttraumatic dissociative
                     criteria for ASD and the associated features of PTSD. Items include going
                     around in a daze since the index trauma occurred, feeling that things have
                     become unreal since the event, and posttraumatic feelings of being
                     separated     from    one's   body.       Posttraumatic    dissociation  is
                     phenomenologically different from general dissociative symptomatology in
                     that it represents lasting responses to a specific trauma, as opposed to a
                     general tendency to dissociate. Nevertheless, individuals with ongoing
                     dissociative symptoms are more likely than others to dissociate in response
                     to an acute trauma.

                           Manuel's T score on the T-DIS scale is 110, indicating that he has
                     developed clinically significant levels of dissociation following the index
                     trauma that remain present at the time of assessment.


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                    subscales consists of the four AV scale 'Tiers that are most relevant to that
                    subscale.
                                                              'S
                                                              c
                           Manuel's T score on the overall AV scale is 110. His T score on the
                    Effortful Avoidance (AV-E) subscale is 98, whereas his T score on the
                    Numbing Avoidance (AV-N) subscale is 115. His overall AV score indicates
                    that he is experiencing significant posttraumatic avoidance symptoms. His
                    AV subscale (AV-E and AV-N) scores suggest significant withdrawal,
                    apathy, and emotional numbing, as well as a tendency to avoid people,
                    places, or situations that remind him of the index trauma. The respondent
                    may be reluctant to discuss his symptoms with therapists or others, and may
                    have problems with treatment adherence. In some cases, this avoidance
                    pattern is associated with amore severe and chronic course.

                    Hyperarousal (AR)

                          The AR scale taps the autonomic hyperarousal cluster of PTSD and
                    ASD symptoms. These symptoms are thought to arise from the fact that
                    exposure to overwhelming trauma can prompt sustained hyperactivation of
                    the sympathetic ("fight or flight") component of the autonomic nervous
                    system.   Symptoms of posttraumatic autonomic hyperarousal include
                    heightened startle responses, tension, sleeping difficulties, irritability,
                    problems with attention and concentration, and hypervigilance.

                           Manuel's T score on the AR scale is 103, suggesting that he is
                    experiencing some combination of tension, irritability, and atendency to be
                    jumpy or "on edge." He also may complain of various somatic concerns
                    (e.g., muscle tension, gastrointestinal distress) that reflect the effects of
                    sustained hyperarousal.     Because hyperarousal symptoms can be quite
                    aversive, some people with an elevated score on the AR scale may use
                    drugs, alcohol, or other sedating or soothing devices to down-regulate their
                    emotional state.
                            The PTS-T scale is the sum of the RE, AV, and AR scale scores and
                     reflects the overall severity of posttraumatic stress symptoms endorsed by
                     the respondent. Typically, aPTS-T score in the moderate to severe range
                    (i.e., T ≥ 65) indicates clinically significant posttraumatic stress
                    symptomatology. However, in some instances, one or two Posttraumatic
                    Stress scales will be elevated at alevel that suggests clinical disturbance, yet
                    the total PTS-T score will be lower than 65. In such instances, it may be
                    appropriate to interpret the elevated scale score(s) as clinically significant,
                    but to consider the overall level of symptom severity to be insufficient for a
                    PTSD diagnosis.
                                                                                                                        20
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                    Substance Abuse (SUB)

                           The SUB scale measures the respondent's self-reported use of drugs
                    and alcohol, a known associated feature of PTSD. Individuals with high
                    SUB scores may have serious drug or alcohol problems that either predate or
                    follow their trauma exposure. Major substance abuse in atrauma survivor
                    can result in treatment disruption, delayed recovery due to impaired
                    processing of traumatic memories, and the possibility of additional traumas
                    in the future.

                          Manuel's T score on the SUB scale is 65, indicating that he reports
                    using substances at levels above that of the average trauma-exposed person.
                    However, because this scale was endorsed at relatively low levels in the
                    normative sample, individuals who use more than asmall amount of alcohol
                    or drugs may have elevated scores on the SUB scale. For this reason, an
                    elevated SUB score should be followed up by an examination of the specific
                    items on this scale.

                    Suicidality (SU/)

                          The SU/ scale measures the respondent's self-reported suicidal
                    motives, ideations, and behaviors. According to DSM-IV-TR, suicidality is
                    awell-established associated feature of PTSD, perhaps especially for those
                    who have experienced major losses or who are suffering extreme
                    psychological pain. Suicidal thoughts and behaviors also are frequently
                    associated with depression, which, in turn, is relatively common among
                    individuals with PTSD. An elevation on the SU/ scale should always be
                    followed up with adetailed suicide-risk interview.

                           Manuel's T score on the SU/ scale is 47, indicating that overall he is
                    not reporting high levels of suicidality, although his specific responses
                    should be examined to detect any endorsement of individual suicidal
                    thoughts, feelings, or behaviors.
                           The Trauma Symptom Inventory (TSI) is intended for the use in the
                    evaluation of acute and chronic traumatic symptomatology. The validity
                    scales reflect avalid profile. His response pattern in the Atypical Response
                    Scale (ATR) reflects extreme distress.
                           The results of the clinical Scales are as following:
                           The Anxious Arousal Scale (AA) reflect the extent to which the,
                    respondent is experiencing symptoms of anxiety and autonomic
                    hyperarousal. Manuel's T score on the AA scale is 79, which suggest a
                    tendency to exhibit nervousness, jumpiness, feeling on edge, excessive
                    worrying, and fears of bodily harm. He tends to be tense and may report
                                                                                                                        22



                                                                 ROMAN 042
ROMAN-PADILLA,MANUEL XXX-XX-XXXX [SA)] RMS/NEUROPSYCHOLOGY REPORT/POLYTRAUMA NOTE 04/09/2009 08:56 (pg 22 of 27)   Report Page 307
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                    reacting to stress or iu den intrusive stimuli with fearfulness or an
                    exaggerated startle rrs      se.
                           The Intrusive.T,„ eriences Scale (IE) scale consists of items reflecting
                    intrusive posttraumat reactions and symptoms. These include nightmares,
                    flashbacks (sudden, intrusive sensory memories of apreviously traumatizing
                    event), upsetting memories that are easily triggered by current events, and
                    repetitive thoughts of an unpleasant previous experience that intrude into
                    awareness. Such symptoms are typically perceived by the affected
                    individual as ego-dystonic (i.e., unexpected and unwanted intrusions from
                    out of nowhere), primarily involving reminiscence or reexperiencing of an
                    especially upsetting event. Manuel's T score is 77. The results indicate he
                    feels out of control, and aminority may fear that they are psychotic. The
                    results reflect the intrusion of such traumatic material into current
                    awareness, often producing an associated state of distress.
                           The Anger/ Irritability Scale (AI) indicate the extent of angry mood
                    and irritable affect experienced by the respondent. Manuel's T score is 75.
                    The results reflect irritability and the presence of angry cognitions (e.g.,
                    wanting to hurt someone or tell them off) and angry behavior (e.g., yelling,
                    argumentativeness, picking fights). He often describes anger as an intrusive
                    and unwanted experience and may see his angry thoughts or behavior as not
                    entirely in his control. He tends to describe pervasive feelings of irritability,
                    annoyance, or bad temper, such that minor difficulties or frustrations
                    provoke contextually inappropriate angry reactions. It should be noted that
                    he tends to be impulsive and acting out may be apossibility.
                           The Defensive Avoidance (DA) Scale consists of those avoidance
                    responses generally subsumed under the C group of PTSD symptoms and
                    the D group of ASD symptoms in DSM-1V. Manuel's T score is 68. The
                    results indicate he often attempts to avoid events or stimuli in his
                    environment that might restimulate upsetting thoughts or memories. There
                    is also the desire neutralize negative feelings about previous traumatic
                    experiences.
                           The Depression (D) Scale measures the extent to which the
                    respondent experiences depressed mood and depressive cognitions. High
                    scores on this scale reflect frequent feelings of sadness and unhappiness and
                    ageneral sense of being depressed. Individuals with high D scores report
                    perceptions of themselves as worthless and Inadequate, a(view of the future
                    as hopeless, and atendency to have thoughts about death and dying. On a
                    behavioral level, such individuals may describe periods of tearfulness and
                    secluding or isolating themselves from others. Suicidality and/or self-
                    injurious behavior is always apossibility in the event of ahigh D score. As

                                                                                                                        23



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                     aresult, the suicidality should also be evaluated we   nelevated D Score
                     is accompanied by above-average TRB scores, even neither (or only one)
                     reaches aT score of 65. Manuel's T score is 66. Iltresults indicate he is
                     experiencing depressed mood and depressive cogniams, with feelings of
                     sadness and aperception that he is inadequate and worthless. His perception
                     of life may tend to of hopelessness.
                            Based on the Manuel's TSI responses, he is likely to satisfy diagnostic
                     criteria for Posttraumatic Stress Disorder (PTSD). As noted earlier, his
                     overall posttraumatic stress level is in the severe range.

                     Summary:

                            Manuel Roman Padilla is a31 year old male who completed the
                     WAIS-III. His overall cognitive ability, as estimated by the Full Scale IQ, is
                     in the Borderline range (FSIQ=72).0n the Verbal scale, his score is in the
                     Borderline range (VIQ = 76). Manuel's Performance score is in the
                     Borderline range (PIQ = 72). On the Indexes, Manuel performed in the
                     Borderline range on the Verbal Comprehension Index (VCI = 76). On the
                     Perceptual Organization Index, he performed in the Borderline range (POI =
                     70). On the Working Memory Index, Manuel performed in the Borderline
                     range (WMI = 71). His Processing Speed Index score was within the Low
                     Average range (PSI = 81).0n the WMS-III, his working memory capacity as
                     estimated by the Working Memory Index is in the Borderline range (Wkg
                     Mem Index=76). Manuel's immediate memory performance is in the
                     Extremely Low range (Imm Mem Index=51) and delayed memory
                     performance is in the Extremely Low range (Gen Mem Index=51). An
                     analysis of the difference between Manuel's WAIS-III and WMS-III scores
                     suggests that Manuel's immediate and delayed memory capabilities are
                     lower than expected relative to his overall intellectual functioning as
                     measured by the VIQ. The VIQ Immediate Memory Index difference
                     occurred for <1`)/0 of the normative group, and the VIQ General Memory
                     Index difference occurred for <1% of the normative group. This pattern
                     suggests arelative weakness or deficit in both immediate and delayed
                     memory. On the basis of his WAIS-III performance, Manuel's abilities to
                     process visual information quickly, his verbal comprehension skills, his
                     working memory abilities, and his nonverbal reasoning abilities are
                     comparable. Relative to his peers, Manuel exhibits less well developed
                     abilities across all domains. The results suggest that Manuel may experience
                     difficulty in keeping up with his peers in awide variety of situations that
                     require age appropriate thinking and reasoning abilities. Compared to his
                     peers, Manuel may experience difficulty in holding information to perform a
                                                                                                                        24


                                                                   ROMAN 044
ROMAN-PADILLA,MANUEL XXX-XX-XXXX [SAJ] RMS/NEUROPSYCHOLOGY REPORT/POLYTRAUMA NOTE 04/09/2009 08:56 (pg 24 of 27)   Report Page 309
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                    specific task. Difficulties with working memory may make the processing of
                    complex information more time-consuming for Manuel, drain his mental
                    energies more quickly, and perhaps result in more frequent errors on a
                    variety of learning tasks, in comparison to other adults his age. Manuel's
                    skill in processing visual material without making errors is below that of his
                    peers. A relative weakness in processing speed may make the task of
                    comprehending novel information more time-consuming and difficult for
                    Manuel. Compared to his age peers, Manuel experiences difficulty holding
                    auditory and visual-spatial information in temporary storage. He
                    experiences arapid loss of relevant information required to accurately
                    perform mental operations at the level of his peers. In situations requiring
                    Manuel to remember new information, he may experience significant
                    difficulty. Manuel's poor performance on immediate memory measures may
                    account for functional difficulties in daily living and other cognitive
                    domains relative to the performance of his peers. Manuel showed very
                    significant difficulty in retrieving recently learned information after a25- to
                    35-minute delay. His low performance on the general memory measures
                    will negatively affect functioning in daily living and perhaps in other
                    cognitive domains relative to the performance of his peers.
                           The results of the Microg suggest some generalized impairment in
                    Manuel's neurocognitive functioning. The results point toward reduced
                    cognitive competence due to slow or inaccurate cognitive processing. His
                    score could indicate impairment in his ability to focus, hold, divide, and
                    sustain attention. This index assesses selective attention, processing speed,
                    attentional capacity, working memory, and vigilance. His score could also
                    indicate impairment in the individual's verbal learning and memory. The
                    scores obtained in the test might indicate strengths in the examinee's
                    abstraction, reasoning, and problem solving abilities. His scores also
                    suggest slowed cognitive processing and those basic cognitive abilities may
                    have been compromised.
                           The results obtained in the WAIS, WMS and Microg are consistent
                    with symptoms often associated with Post Concussion Syndrome, Traumatic
                    Brain Injury and neurocognitive disorder as aconsequence of acumulative
                    effect of being exposed to continuous or frequent explosions and head
                    trauma.

                           In summary, the results of the DAPS, TSI satisfy DSM-IV-TR
                     diagnostic criteria for PTSD. The severity of this disorder is estimated to be
                    in the severe range. In addition, he reports clinically meaningful levels of
                    trauma-specific dissociation and substance abuse.             This clinical
                    presentation,   especially   in   the   presence     of   other   significant
                                                                                                                        25



                                                                 ROMAN 045
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                    symptomatology, mypsignal the presence of amore "complex" PTSD. This
                    more complicated Gli i al picture often requires more extended or intense
                    psychological anclipr pharmacological treatment.          Furthermore, greater
                    attention to avoidan% or subjective distress issues may be indicated during
                    treatment, perhaps especially in the context of therapeutic exposure to
                    traumatic memories.
                                 The results of the Rorschach and NIMPI 2point toward impulsive
                    behavior, emotionally lability, tendency to become agitated, excitable and
                    hostile, he and may show poor judgment. The results indicate that he is
                    overwhelmed by anxiety, tension, and depression. He feels helpless and
                    alone, inadequate and insecure, and he believes that life is hopeless and that
                    nothing is working out right. He attempts to control his worries through
                    intellectualization and unproductive self-analysis, but he has difficulty
                    concentrating and making decisions. He may have episodes of more intense
                    and disturbed behavior resulting from an elevated stress level. The results
                    indicate that he is functioning at avery low level of efficiency. He tends to
                    overreact to even minor stress, and he may show rapid behavioral
                    deterioration. He also tends to blame himself for his problems. He is also
                    experiencing low morale and adepressed mood. He reports apreoccupation
                    with feeling guilty and unworthy. He feels that he deserves to be punished
                    for wrongs he has committed. He feels regretful and unhappy about life, and
                    he seems plagued by anxiety and worry about the future. He feels hopeless
                    at times and feels that he is acondemned person. He has difficulty
                    managing routine affairs, and the items he endorsed suggest apoor memory,
                    concentration problems, and an inability to make decisions. He appears to
                    be immobilized and withdrawn and has no energy for life. He views his
                    physical health as failing and reports numerous somatic concerns. He feels
                    that life is no longer worthwhile and that he is losing control of his thought
                    processes. He endorses statements that show some inability to control his
                    anger. The results also suggest that he feels intensely angry, hostile, and
                    resentful of others, and he would like to get back at them. The results
                    evidence symptoms of depression, tension, and anxiety.
                           After reviewing his history and test results our diagnostic impression
                    based on the analysis of the test results discussed in this report we
                    concluded that Manuel Roman Padilla is experiencing emotional and
                    cognitive impairment as aresult of aTraumatic Brain Injury and Emotional
                    Trauma sustained during the war in Iraq.

                    Diagnostic Impression:


                                                                                                                        26



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                I
                'Axis I-                   309.81 Posttraumatic Stress DisorderiC'ronic


                7 Axis Il -
                                           296.21 Mayor Depression, mild
                                           294.9 Cognitive Disorder, NOS
                                           None
                                                                                •
                                                                               •.&
                                                                               r
                                                                                A
                1 Axis III -               Herniated Discs, Broad Disc Bulges
                  Axis IV-                 Exposure to war and injuries during the war, re adjustment to
                  civilian life
                  Axis V-       50

                    LILA,l, l1/11.111%..11%4C4L1l/11.3.




                    1. Individual Psychotherapy to deal with PTSD symptoms, anger
                    management, depression, and impulse control.
                    2. Psychiatric Treatment.
                    3. Family therapy.
                    4. Referral to TBI Clinic Intervention to work with areas of cognitive
                    process identified in the report.
                    5. Referral to PTSD Clinic to work with his symptoms
                    6. Complete Neurological Evaluation

                    TREATMENT CONSIDERATIONS

                           Individuals with this MMPI-2 pattern are usually feeling agreat
                    deal of discomfort and tend to want help for their psychological problems.
                    The client's self-esteem is low and he tends to blame himself too much for
                    his difficulties. Although he worries agreat deal about his problems, he
                    seems to have little energy left over for action to resolve them.
                           Symptomatic relief for his depression may be provided by
                    antidepressant medication. Psychotherapy, particularly cognitive
                    behavioral treatment, may also be beneficial.
                           The passive, unassertive personality style that seems to underlie this
                    disorder might be afocus of behavior change. Individuals with these
                    problems may learn to deal with others more effectively through
                    assertiveness training.
                           Manuel's scores on the content scales seem to indicate low potential
                    for change. He may feel that his problems are not addressable through
                    therapy and that he is not likely to benefit much from psychological
                    treatment at this time. His apparently negative treatment attitudes may
                    need to be explored early in therapy if treatment is to be successful.



                                                                                                                        27




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                            In any intervention or psychological evaluation program involving
                     occupational adjustment, his negative work attitudes could become an
                     important problem to overcome. He has anumber of attitudes and feelings
                     that could interfere with work adjustment.
                            His acknowledged problems with alcohol or drug use should be
                     addressed in therapy.




                                                                                                     ,
                                                                               nt,         /(471Za4z2( a(e-r
                                                                                Mary kathleen Vidal, Psy. D.
                                                                                Clinical Psychologist
                                                                                Lie. #961




                                                                                                                         28



                                                                  ROMAN 048
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                                                 DEPARTMENT OF THE ARMY
                                    US ARMY INSTALLATION MANAGEMENT COMMAND
                          HEADQUARTERS,     UNITED STATES ARMY GARRISON,              FORT BUCHANAN
                                                 218 BROOKE STREET
                                       FORT BUCHANAN,      PUERTO RICO 00934-4206


         ORDERS 248-0001                                                                         04 September 2008


         ROMAN,    MANUEL                    SPC CBHCO PUERTO RICO MHO,              (WO7SD2),    FT BUCHANAN,    PR
         00934


         You are released from assignment and duty because of physical, disability
         incurred while entitled to basic pay and under conditions                          that permit your
         placoment on the Temporary Disability Retired List.


         Effective date of retirement:              04 September 2008        '
         Date placed on retirement          list:     05 September 2008
         Retired grade/Date of rank:   SPC/27 April                 2005
         Permanent grade of rank:  SPC
         Authorized place of          retirement:     FORT BUCHANAN TC           (W1H1A4)    FORT BUCHANAN PR
         00934
         Requested place of retirement:              N/A
         Percentage of disability:           60
         DOB:     21 January 1976
         Sex:     M
         Citizehship code:         A
         Retirement type and allotment code:                TEMP DISABILITY/8
         Component:       ARNGUS
         Statute authorizing retirement:                   1372
         Other eligible laws:             1202
         Disability retirement:           2 years,    4 months,        29 days
         Section 1405:         2 years,   10 months,       1 days
         Basic Pay:        4 years,    5 months,    9 days
         Total active         federal commissioned service date:             Not applicable
         Date     initially entered military:           26 March 2004
          Completed over 4 years          of active service as Ed l or WO:             Y
         Disability is based on injury or disease received in the line of duty as a
         direct result of armed conflict or caused by an instrumentality of war and
          incurring in the line of duty during a period of war as defined by law:                           Yes
          Disability resulted from a combat related injury as defined in 26 USC 104:                              Yes
          Member of an Armed Force on 24 Sep 75:                  No
          Significant awards:          Not applicable
          Additional      instructions:
          a.   Aicouning classific.l.tion          (OPERATION IRAQI FREEDOM)
          OtLic,,r:     :182010.0000    01-1100     P1X1A00    11**/12** VIRQ F9203          5570 512120
          EnlLsted:      2182010.0000     01-1100 P2X2A00 11**/12** VIRQ F9203                5570 S12120
          Travel:     2182020.0000     01-1100 P135198        21**/22**/25** VIRQ F9203          5570 512120
          C.   Scldier muut be in duty uniform during out-processing
          C.   You must complete a retirement Briefing as soon a     ssible and return the DO
          Form 2656      (SHP Checklist)     to the Transition Cent


          7ES::       20 March ::004
          F,
           7)rTot:      662


          FOR THE COMMANDER:
                                                                            ."/*
                                                                  ******         eir
                                                                  ** *OR:2:1,7*A :7;14!ii
                                                                                     I METD **




                                                     ROMAN 049
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Progress Notes                                                                                                                            Printed On Feb 13, 2019
           PROBLEM/ONSET                DATE:        LUMBAR       PAIN    SINCE       MARCH.


           PT    TX:       6/8    SESSIONS


           DATA:       Patient          mentions          that    continues          with    pain    but    is    able       to    do   the    exercise.


           Action:          patient       received          the       following       PT    TX:
            Modalities:
                -HP    and       HVES    to    L/S       area    x 20    mins
                -Gentle          massage       at    T/L    area.
                Exercise:(60mins)                   (TENS       application          during       exercise       at    L/S    area).
                 -core/LE          strengthening                and    stretching          exercise
                 -back          stabilization             exercise       on    theraball
                 -PVM       exercise          in    prone       position       (Active       at   UE'S     and AA       at    LE'S)1         x 10   rep.
                 -Sci-fit          exercise          x 10       min    level    5 manual          setting.
                 -PRE       2#    for    shoulder          flexion       and    abduction.
                 -modified             squatting          exercise       with    yellow       therapeutic             ball    1 x 10         rep.


           RESPONSE:             patient       tolerated          PT    TX with       no    adverse      reaction        during         or    after
           intervention.                Patient          with    tenderness          and muscle       spasm       at    T/L       area.


           Plan:       continue          as    recommended.


           Precaution:             universal,             avoid       hyper    flexion       & hyperextension                of    spine




           /es/       YOLANDA ARZOLA-TORRES
           PHYSICAL             THERAPIST          LIC1096
           Signed:          10/07/2008             16:23


             LOCAL         TITLE:       C&P    PTSD,       INITIAL       EVALUATION
           STANDARD             TITLE:    C & P EXAMINATION NOTE
           DATE       OF    NOTE:       OCT    07,       2008@10:00              ENTRY       DATE:    OCT    10,       2008@10:09:38
                       AUTHOR:          PETERSON-TAPIA,YVON                    EXP    COSIGNER:
                      URGENCY:                                                             STATUS:    COMPLETED


           COMPENSATION AND                   PENSION       EXAMINATION
           INITIAL          EVALUATION             FOR    POST-TRAUMATIC             STRESS       DISORDER       (PTSD)




           REVIEW          OF    RECORDS




                C-FILE          WAS:
                  Reviewed
                MEDICAL          RECORDS       WERE:
                  Reviewed


PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)           VISTA Electronic Medical Documentation
ROMAN-PADILLA,MANUEL                                                     Printed       at    SAN    JUAN    VA MEDICAL             CENTER


LAS   MARIAS,         PUERTO       RICO        00670
DOB: 01//1976



                                                                          ROMAN 050                                                                         2848
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           MEDICAL          HISTORY


                 AGE:        32
                  PERIOD          OF    SERVICE:          GWOT
                  ETHNIC          BACKGROUND:             Latin       Or    Hispanic




              PAST      MEDICAL          HISTORY


                  SIGNIFICANT                NON-PSYCHIATRIC                ILLNESSES,            INJURIES,        OR HOSPITALIZATIONS:
                       . Backache
                       . Spondylolisthesis
                       . Cognitive                Disorder
                       . Low       Back       Pain
                       . Brain          diseases          due    to       trauma
                       . Overweight


                  DATES,          CURRENT          TREATMENT,             AND    OTHER       SIGNIFICANT          DETAILS       OF NON-
                  PSYCHIATRIC                ISSUES:
                       He    receives             treatment          at    SJVAMC




              TREATMENT


                 WAS        THERE       OUTPATIENT             TREATMENT             FOR A MENTAL          DISORDER?       Yes
                       DATE(S)          OF    OUTPATIENT             TREATMENT:             while    in    active    duty
                            CONDITION(S)             AND       LOCATION          OF    TREATMENT:
                              due       to    "PTSD       & TBI"




              HOSPITALIZATION (5)


                 WERE        THERE       ONE      OR MORE        HOSPITALIZATIONS                   FOR A MENTAL          DISORDER?        No




              PRESENT         MEDICAL             HISTORY


                  SYMPTOMS             PRESENT       DURING          PAST       YEAR:       Yes
                  IS    THERE          CURRENT       TREATMENT             FOR A MENTAL             DISORDER?       Yes
                       SUMMARY          OF    CURRENT          TREATMENT             FOR A MENTAL          DISORDER:
                            CURRENT          TREATMENT(S):                Anti-depressant,                Anti-anxiety
                            SPECIFY MEDICATION AND                         OTHER       COMMENTS:          Paroxetine       30    mg   PO   QD
                            Alprazolam             0.5    mg    PO    BID       & 2 mg       PO   QHS
                            MEDICATION             SIDE       EFFECT(S):             None
                            GROUP       THERAPY:          No
                            INDIVIDUAL             PSYCHOTHERAPY:                Yes
                            EFFECTIVENESS                OF    THERAPY:          Poor
                            COMMENT          ON   EFFECTIVENESS                 OF    THERAPY:      He     said    the    medications
                            are
                                             "not    working"
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)              VISTA Electronic Medical Documentation
ROMAN-PADILLA,MANUEL                                                        Printed          at   SAN     JUAN    VA MEDICAL          CENTER


LAS   MARIAS,      PUERTO          RICO           00670
DOB: 01//1976



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                            *****************************************




              FREQUENCY,              SEVERITY,              AND       DURATION          OF    NON-PTSD       PSYCHIATRIC/MEDICAL
              SYMPTOMS:
                  He    reported             the       following             symptoms:          irritability,             socially withdrawn,
                  feelings            of     worthlessness,                      depressed mood,             trouble       sleeping with
                  nightmares,                stressed-out.                   These       symptoms          started while         in   active       duty,
                  on    a daily basis,                      moderate




              PTSD      INITIAL:             PRE-MILITARY                   HISTORY


                  EDUCATION:               12
                  FAMILY         STRUCTURE              AND       ENVIRONMENT                WHERE    RAISED:
                       He   was       born        and       raised          in    the    urban       area.    He   was     raised by        both
                       parents.            He     is    the       second          of    three    siblings.          He    described his
                       childhood             as    "good"
                  FAMILY         PSYCHIATRIC                 HISTORY:
                       None      reported
                  QUALITY          OF      PEER        RELATIONSHIPS                   AND    SOCIAL ADJUSTMENT:
                       He   used        to      participate                 in    sports.
                  PERFORMANCE                IN    SCHOOL:
                       He    said       he      had     "average"                grades
                  TYPE      OF     JOB(S):
                       factory worker                   before             being       deployed


                  ISSUES         ASSOCIATED WITH ALCOHOL                                USE:
                       Legal       or      other        problematic                consequences
                            DESCRIPTION                OF    LEGAL          OR    OTHER CONSEQUENCES:
                              He      enrolled              in    a Alcohol             Rehab program


                  ISSUES         ASSOCIATED WITH                       OTHER       SUBSTANCE          USE:
                       No    use


              BEHAVIORAL              DISTURBANCES                    OR    LEGAL       PROBLEMS          PRIOR    TO    SERVICE?     Yes
                  DESCRIPTION                OF    BEHAVIORAL                DISTURBANCE             OR    LEGAL    PROBLEMS:
                       He   was       jailed           due       to    assault          and battery          against       his   live-in
                       ladyfriend




              MILITARY           HISTORY


                  DATE(S)          OF      SERVICE:              04/2004-09/2008


                  BRANCH         OF     SERVICE:             Army


                  HIGHEST          RANK         OBTAINED:              E 4


                  TYPE      OF     DISCHARGE:                Honorable
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)                    VISTA Electronic Medical Documentation
ROMAN-PADILLA,MANUEL                                                              Printed       at    SAN    JUAN       VA MEDICAL     CENTER


LAS   MARIAS,      PUERTO          RICO           00670
DOB: 01//1976



                                                                                   ROMAN 052                                                                    2850
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Progress Notes                                                                                                                           Printed On Feb 13, 2019


                  RANK AT          DISCHARGE:          E 4


                 MILITARY           OCCUPATIONAL             SPECIALTY:             21B    (combat          engineer)


                  DECORATIONS             AND    MEDALS       AWARDED:          Purple          Heart,       CAB,     AAM,    ARCOM     and
                  others
                          he      cannot       recall


                  DID     THE      VETERAN       HAVE       COMBAT    EXPERIENCE:                Yes


                 WERE        COMBAT       WOUNDS       SUSTAINED:          Yes


                  LOCATION AND                DATE    OF    COMBAT    EXPERIENCE:                Iraq       in   Baghdad


                  DESCRIBE          COMBAT       WOUNDS       AND    OTHER          COMMENTS:          While       being      a gunner       in
                  the
                          streets         of    Baghdad,          there    was       a EFP       explosion            and veteran       he
                  received
                          injury         in    low back,          buttocks          and head.          He    was      in   severe    pain,
                  and
                          depressed


                 ALCOHOL           USE    OR ABUSE:          No    Problematic             Effects


                  OTHER        SUBSTANCE         USE       OR ABUSE:       No       Use
                  *******************************




              PTSD      INITIAL:          POST       MILITARY       PSYCHOSOCIAL                HISTORY


                  LEGAL        HISTORY?         No


                  EDUCATIONAL ACCOMPLISHMENTS?                            No


                  DESCRIPTION             OF MARITAL AND             FAMILY         RELATIONSHIPS:
                     He      is    single,       never married.                He    is    the    father         of    four    children.          He
                     lives         with       a ladyfriend          and    a daughter.                He    described his            family
                     relationship               as    "moody"
                  DESCRIPTION             OF    DEGREE       AND    QUALITY         OF     SOCIAL          RELATIONSHIPS:
                        He     described         his       social    relationship                as    "none"
                  DESCRIPTION             OF ACTIVITIES             AND    LEISURE          PURSUITS:
                     Watch         Tv.    Listen       to    radio
                  HISTORY          OF    SUICIDE ATTEMPTS?                No


                  HISTORY          OF VIOLENCE/ASSAULTIVENESS?                            Yes
                     COMMENTS            AND ADDITIONAL             INFORMATION:
                          He      has    been    physically violent                   with       his       relatives,         last   episode
                          three         days    ago


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                                                                          ROMAN 053                                                                        2851
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Progress Notes                                                                                                        Printed On Feb 13, 2019
                  ISSUES       ASSOCIATED WITH ALCOHOL                    USE:
                     No    use


                  ISSUES       ASSOCIATED WITH            OTHER       SUBSTANCE        USE:
                     No    use


           PSYCH     EXAM


              GENERAL APPEARANCE:
                  Clean


              PSYCHOMOTOR ACTIVITY:
                  Other
                     DESCRIPTION           OF    ANY    OTHER    PSYCHOMOTOR ACTIVITY:
                          he   walks      with    the    aid    of    a cane


              SPEECH:
                  Spontaneous


              ATTITUDE          TOWARD     EXAMINER:
                  Cooperative


              AFFECT:
                  Constricted


              MOOD:
                  Depressed


              ATTENTION:
                 Attention           Intact
                     ABLE       TO   DO   SERIAL       7'S?    Yes
                     ABLE       TO   SPELL A WORD         FORWARD         AND    BACKWARD?     Yes


              ORIENTATION:
                  INTACT        TO   PERSON:      Yes


                  INTACT        TO   TIME:      Yes


                  INTACT        TO   PLACE:      Yes


              THOUGHT          PROCESS:
                  Unremarkable


              THOUGHT          CONTENT:
                  Unremarkable


              DELUSIONS:
                 None


              JUDGMENT:          Understands           outcome       of   behavior
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                                                                      ROMAN 054                                                         2852
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Progress Notes                                                                                                                       Printed On Feb 13, 2019


              INTELLIGENCE:              Average


              INSIGHT:           Patient       understands             that    he/she         has    a problem.


              DOES     THE       PATIENT       HAVE    SLEEP       IMPAIRMENT?            Yes
                   COMMENTS       AND     DESCRIPTION             OF    EXTENT       SLEEP         IMPAIRMENT      INTERFERES       WITH
                   DAILY ACTIVITY:
                     He     feels       "moody"       the    next       day


              TYPE     OF    HALLUCINATIONS:
                   None


              DOES     THE       PATIENT       HAVE    INAPPROPRIATE               BEHAVIOR?          No


              INTERPRETS           PROVERBS          APPROPRIATELY?                Yes


              DOES     THE       PATIENT       HAVE    OBSESSIVE/RITUALISTIC                        BEHAVIOR?     No


              DOES     THE       PATIENT       HAVE    PANIC      ATTACKS?           No


              IS    THERE        PRESENCE       OF    HOMICIDAL          THOUGHTS?            No


              IS    THERE        PRESENCE       OF    SUICIDAL          THOUGHTS?         No


              EXTENT        OF    IMPULSE       CONTROL:          Poor
              EPISODES           OF VIOLENCE:          Yes
                   EXAMPLES        OF    EFFECTS       ON MOTIVATION/MOOD                     OR OTHER      COMMENTS:
                     Stated        in    the    history


              ABILITY        TO MAINTAIN MINIMUM                   PERSONAL          HYGIENE?         Yes


              IS    THERE        PROBLEM WITH ACTIVITIES                      OF    DAILY      LIVING:      No




              MEMORY


                     REMOTE        MEMORY:       Normal
                     RECENT        MEMORY:       Normal
                     IMMEDIATE           MEMORY:       Normal




              PTSD     STRESSORS


                   STRESSOR EVENT(S)                 THE    VET    FOUND       PARTICULARLY            TRAUMATIC:
                     Accident           involving          actual       or    threatened            serious      injury     or   death    to
                     self
                          DESCRIPTION           OF    STRESSOR:          Accident         involving         actual     or    threatened
                          serious        injury       or    death       to    self
                             DATE       AND    LOCATION:          Baghdad
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                                                                         ROMAN 055                                                                     2853
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Progress Notes                                                                                                                          Printed On Feb 13, 2019
                                 TRAUMA OCCURRED:            During Military                Service
                                 INTENSE    FEAR:    Yes
                                 FEELING    OF   HOPELESSNESS:                Yes
                                 FEELING    OF   HORROR:          No
                                 OTHER REACTION:          Yes
                                   DESCRIBE      OTHER:       in       pain
                                 ADDITIONAL      COMMENTS:             While    being       a gunner       in    the    streets
                            of
                                          Baghdad,      there          was    a EFP       explosion       and    veteran       he
                            received       injury    in
                                          low back,       buttocks            and    head.
           *******************************




              TRAUMA EXPOSURE               TESTING


                  TESTING          FOR    TRAUMA EXPOSURE               VETERAN       HAS       UNDERGONE:
                       No    testing       has   been     done




              PTSD      SYMPTOMS




                  PERSISTENT             SYMPTOMS    OF      INCREASED AROUSAL:
                       Difficulty          falling      or    staying          asleep,          Irritability       or    outbursts         of
                       anger


           TESTS




              INTERVIEW-BASED               DIAGNOSTIC            INSTRUMENTS             FOR    PTSD:
                 None


              QUANTITATIVE               PSYCHOMETRIC ASSESSMENT                     OF    PTSD    SYMPTOM       SEVERITY:
                 None


           DIAGNOSIS




              PTSD      INITIAL:          MENTAL    COMPETENCY


                  DOES       THE VETERAN         KNOW     THE      AMOUNT       OF    THEIR BENEFIT             PAYMENT?       Yes
                  DOES       THE VETERAN         KNOW     THE      AMOUNTS          OF MONTHLY       BILLS?       Yes
                  DOES       THE VETERAN         PRUDENTLY             HANDLE       PAYMENTS?       Yes
                  DOES       THE VETERAN         PERSONALLY             HANDLE       MONEY AND       PAYS       BILLS?       Yes


                  IS    THE       VETERAN    CAPABLE         OF    MANAGING          FINANCIAL AFFAIRS?                Yes


                  IS    A SOCIAL WORK ASSESSMENT                        NECESSARY          TO    RENDER AN       OPINION?          No
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                                                                         ROMAN 056                                                                        2854
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Progress Notes                                                                                                                                  Printed On Feb 13, 2019



              PTSD      INITIAL:             EMPLOYMENT          HISTORY


                  USUAL          OCCUPATION:
                       warehouse             employee
                  IS    THE       VETERAN          CURRENTLY          EMPLOYED?             No


                  IS    VETERAN             RETIRED?       No


                  IS    VETERAN             UNEMPLOYED          BUT       NOT    RETIRED?          Yes
                  DURATION             OF    CURRENT       UNEMPLOYMENT:                  Less     than    1 year
                  REASON(S)             GIVEN       FOR UNEMPLOYMENT:
                       He    was       discharged          on    09/2008


              DOES      THE       VETERAN MEET             THE       DSM-IV          STRESSOR          CRITERION?       Yes
                  DESCRIPTION                OF    PRIMARY       STRESSOR(S)                RELATED       TO    PTSD:
                       While          being       a gunner       in       the    streets          of    Baghdad,       there       was    a EFP
                       explosion             and veteran             he    received          injury       in    low back,          buttocks          and
                       head.


              DOES      THE       VETERAN MEET             THE       DSM-IV          CRITERIA          FOR A DIAGNOSIS             OF    PTSD?       No
                 AXIS        I:       Depressive          Disorder             NOS
                       IF ANY ADDITIONAL                   MENTAL          DISORDERS             HAVE    BEEN    DIAGNOSED,             EXPLANATION             OF
                       HOW       THE    SYMPTOMS          ARE    RELATED             TO   OR ARE        PART    OF   EACH     MENTAL       DISORDER:
                            No    other mental             disorder             was       found.


                            There       is    no    evidence          of       illegal       drugs/alcohol             use,    abuse,          nor
                            dependence,             at    the    present             time,       related       to,    secondary          to,
                            nor
                            aggravated by                the    above          diagnosis


                 AXIS        II:       No    Diagnosis
                 AXIS        III:       Stated Above
                 AXIS        IV:       War    Exposure
                 AXIS        V:       GLOBAL ASSESSMENT                   OF    FUNCTIONING


                       SCORE:          60TIME       FRAME:       Current             functioning
                       COMMENTS:
                            Veteran meets                the    DSM       IV    TR    stressor          criteria       for    PTSD,       as    well       as
                            the       symptom       criteria          for       persistent             hyper    arousal.       Nonetheless,                he
                            does       not    fulfill          the    symptom             criteria       for    persistent          avoidance             of
                            the       stimulus,          nor    for       persistent             re-experiencing             the    traumatic
                            event.




           PSYCH       SUMMARY


              CHANGES            IN    FUNCTIONAL          STATUS          AND       QUALITY       OF    LIFE    SINCE       LAST       EXAM:
                  Performance                in    employment,             Social/interpersonal                      relationships,
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                                                                                ROMAN 057                                                                            2855
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Progress Notes                                                                                                                         Printed On Feb 13, 2019
                  Recreation/leisure                 pursuits


                DESCRIPTION        OF    LINKAGE          BETWEEN       PTSD       SYMPTOMS          AND AFOREMENTIONED               CHANGES   IN
                IMPAIRMENT,        IN    FUNCTIONAL             STATE,       AND      QUALITY        OF    LIFE:
                  There     is    moderate       impairment             in      the    stated        areas       due    to   trauma    exposure.




           /es/    YVONNE        PETERSON-TAPIA
           MD
           Signed:        10/10/2008       10:09


             LOCAL       TITLE:    PM&R OUT-PATIENT ATTENDING NOTE
           STANDARD        TITLE:       PHYSICAL          MEDICINE          REHAB ATTENDING                NOTE
           DATE    OF     NOTE:    OCT    06,    2008@11:56                       ENTRY      DATE:        OCT    06,    2008@11:57:36
                     AUTHOR:       MOTTA-VALENCIA,KERY                       EXP      COSIGNER:
                   URGENCY:                                                             STATUS:           COMPLETED


           PAST    MEDICAL        HX:
           Computerized           Problem       List       is    the    source         for     the    following:


             1.   Backache
             2.   Spondylolisthesis              *    (ICD-9-CM             756.12)
             3.   Cognitive        Disorder NOS                (ICD-9-CM          294.9)
             4.   Posttraumatic           Stress          Disorder          *   (ICD-9-CM          309.81)
             5.   Depression        *    (ICD - 9- CM          311./300.4)
             6.   Low     Back    Pain
             7.   Brain     diseases       due       to    trauma       (ICD - 9- CM         348.8)
             8.   Overweight        *    (ICD-9-CM             278.00)


           ALLERGIES:No Allergy Assessment


           Active        Outpatient       Medications                (including         Supplies):


                   Active        Outpatient          Medications                                                             Status


           1)      ALPRAZOLAM           0.5MG    TAB       TAKE       ONE    TABLET       BY   MOUTH        TWO              ACTIVE
                         TIMES    A DAY AND          TAKE       FOUR    TABLETS        AT      BEDTIME          FOR    30
                         DAYS    FOR ANXIETY
           2)       LIDOCAINE       5%    SIN    X 6IN          PATCH APPLY            1 PATCH                               ACTIVE
                         TRANSDERMAL       EVERY          DAY    FOR    PAIN       ( DO      NOT     LEAVE
                         APPLIED    PATCH       FOR MORE             THAN    12    HOURS       )
           3)      MENTHOL        10%/METHYL          SALICYLATE             15%      CREAM APPLY A THIN                     ACTIVE
                         FILM    TO AFFECTED AREA                DAILY       FOR      PAIN
           4)      MORPHINE        SULFATE       CR       15    MG    TAB    TAKE     ONE      TABLET       BY               ACTIVE
                         MOUTH    EVERY    12    HOURS          FOR    15    DAYS      FOR     PAIN
           5)      MORPHINE        SULFATE       CR       30    MG    TAB    TAKE     ONE      TABLET       BY               ACTIVE
                         MOUTH    EVERY    12    HOURS          FOR    15    DAYS      FOR     PAIN
           6)      OXYCODONE        HCL    5MG       CAP       TAKE    TWO      CAPSULES        BY MOUTH                     ACTIVE
                         EVERY    6 HOURS       AS    NEEDED          FOR    15    DAYS      FOR     PAIN
           7)      OXYCODONE        HCL    5MG/APAP             325MG       TAB    TAKE      1 TABLET           BY           ACTIVE

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                                                                        ROMAN 058                                                                        2856
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Progress Notes                                                                                                                     Printed On Feb 13, 2019
                         - One-to-One             Training
                         Written material
                       Teaching method             used:
                         - Discussion
                         - Written          Material
                              Comment:       GIVEN
                  The    following          education          was    provided       according          to    identified       learning
                  need:
                       - Preventive          Health:
                         Comment:          Testicular          Test,       Seat-belts       use,      Weight        Control,   Benefit
                         of    exercise
                  Teaching          Evaluation:
                         Level       of    Understanding:
                         >»     Good
                         Verbalize          understanding             of    the    information          provided
                         Comment:          GOODFEEDBACK
                       Information          given       in:
                         Spanish




           /es/    ELSA       GEIGEL-DE          VELEZ
           RN,MSN
           Signed:       05/07/2010          15:01


             LOCAL      TITLE:       C&P    MUSCLES
           STANDARD          TITLE:       C & P EXAMINATION NOTE
           DATE    OF    NOTE:      MAY     07,    2010@09:40                    ENTRY   DATE:     MAY       10,    2010@07:13:17
                       AUTHOR:       BERRIOS-RIVERA,JORG                    EXP    COSIGNER:
                   URGENCY:                                                          STATUS:       COMPLETED


           COMPENSATION AND                PENSION       EXAMINATION
           MUSCLE




           REVIEW       OF    MEDICAL       RECORDS




              C-FILE         WAS:    Not    requested by VARO
              MEDICAL         RECORDS       WERE:       Reviewed
              COMMENTS:
                  CASE       OF A 34       YEARS    OLD VETERAN             WITH    PAST    HX   OF     MUSCLES       EVALUATION      FOR    C&P
                  PURPOSES.          HE    HAD    IED    EXPLOSION          IN    IRAK WITH      SHELL        FRAGMENT      WOUNDS    ON    THE
           BUTTOCKS.
                  HE    REFERS       THAT    SINCE       HIS    LAST       C&P    EVALUATION       HE    HAS       SEVERE   PAIN   UPON     SITTING
           DOWN.
                  HE    REFERS       LOSS    OF    TISSUE       AND    MUSCLE       PAIN.

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                                                                       ROMAN 059                                                                      2458
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Progress Notes                                                                                                                                   Printed On Feb 13, 2019


                PROBLEM:             BILATERAL             BUTTOCK          PAIN
                DATE       OF    ONSET:             SERVICE
                CIRCUMSTANCES                   AND    INITIAL MANIFESTATIONS:                          ALREADY           SC
                COURSE          SINCE          ONSET:       Stable
                CURRENT          TREATMENTS:                Medication
                DESCRIPTION                OF       TREATMENT(S):               GABAPENTIN             600MG    1 TAB          PO AT   HS,   FLEXERIL        10MG    1 TAB
           PO
                BID,       MRPHINE             SULFATE          CR    30MG      I TAB    PO       BID AND       OXYCODONE          5MG    1 CAPO      PO    Q 6HRS    PRN
                WITH       GOOD       PAIN          CONTROL
                SIDE       EFFECTS             OF    CURRENT          TREATMENT:         No
                ******************************




           MEDICAL          HISTORY


                IS    THERE          A HISTORY             OF    HOSPITALIZATION,                  SURGERY,          OR    DEBRIDEMENT?         Yes
                     SUMMARY          OF ALL          HOSPITALIZATIONS                  AND       SURGERIES:
                            HOSPITAL AND                   LOCATION:            WALTER REED
                            DATE:          30       DAYS    AROUND          2006   TO    2008
                            REASON OR TYPE OF SURGERY: REMOVAL                                         OF   FRAGMENTS
                            *******************************


                IS    THERE          A HISTORY             OF    TRAUMA TO         THE       MUSCLES?          No


                IT    THERE          A HISTORY             OF    NEOPLASM?         No


                SUMMARY          OF       HISTORIES             FOR EACH         WOUND       INVOLVING MUSCLES:
                     MUSCLES          INVOLVED:             BUTTOCKS
                     ETIOLOGY             OF    INJURY:          Missile
                     VELOCITY             OF MISSILE:                Unknown
                     CALIBER OF                MISSILE:          Unknown
                     NUMBER OF             MISSILES:             Multiple
                     TYPE       OF    MISSILE:             Shrapnel
                     INITIAL          TREATMENT             IN       THE    FIELD:      HE    DOES      NOT     RECALL
                     LENGTH          OF    INITIAL          HOSPITALIZATION:                  30    DAYS       WALTER REED
                     TIME       FOR RETURN             TO       DUTY       OR LIMITED         DUTY      OR DETERMINATION                 THAT   DUTY       COULD    NOT   BE
                     RESUMED:             DUTY       COULD       NOT       BE   RESUMED
                     WAS    THE       WOUND A THROUGH AND                        THROUGH          INJURY:       No
                     WAS    THE       WOUND          INITIALLY             INFECTED      BEFORE         HEALING:           No
                     WERE       THERE          ASSOCIATED             BONE,      NERVE,       VASCULAR OR             TENDON       INJURIES:       Yes
                      DESCRIPTION:                   LUMBAR          SPINE      FRACTURES
                     CURRENT          SYMPTOMS
                      IS    THERE          PAIN:       Yes
                      IS    THERE          DECREASED             COORDINATION:               No
                      IS    THERE          INCREASED             FATIGABILITY:               Yes
                      IS    THERE          WEAKNESS:             Yes
                      IS    THERE          UNCERTAINTY                OF    MOVEMENT:         Yes
                      OTHER          SYMPTOMS:             No
                     ARE    THERE          FLARE-UPS             OF MUSCLE         INJURY          RESIDUALS:             Yes
                      SEVERITY:                Severe
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                      FREQUENCY:          Every       1 to       2 months
                      DURATION:          1 to    2 weeks
                      PRECIPITATING AND ALLEVIATING                               FACTORS:         PRECIPITATING       FACTORS,    SITTING     DOWN.
                     ALLEVIATING          FACTORS,          SLEEP,          RELAX AND            TAKE    MEDICATION
                      EXTENT       IF ANY,       PER VETERAN,                THEY       RESULT      IN ADDITIONAL       LIMITATION      OF   MOTION    OR
                     OTHER       FUNCTIONAL          IMPAIRMENT:             HE    HAS      DIFFICULTY       WALKING,    SITTING    DOWN,
                     ***************************************************




           PHYSICAL          EXAMINATION




                VITAL       SIGNS


                     TEMPERATURE:             97.6    F
                     PULSE:       88    bpm
                     RESPIRATORY          RATE:       18
                     BLOOD       PRESSURE:       133       / 87      mmHg
                     HEIGHT:       71    INCHES
                     WEIGHT:       200    POUNDS
                     WEIGHT       CHANGE:       None


                HAS       A MUSCLE       BEEN    INJURED,             DESTROYED,            OR    TRAVERSED?     Yes
                     SUMMARY       OF    MUSCLE       GROUP(S)             INJURED:
                          BODY AREA       INJURED:          Pelvic          Girdle
                          SIDE:    Right      and     Left
                          GROUP    16    MUSCLE(S)          INJURED:          None
                           MUSCLE       STRENGTH:          5
                          GROUP    17    MUSCLE(S)          INJURED:          Gluteus            Maximus,    Gluteus    Medius,    Gluteus     Minimus
                           MUSCLE       STRENGTH:          4
                           TISSUE       LOSS:    Yes
                          GROUP    18    MUSCLE(S)          INJURED:          None
                           MUSCLE STRENGTH: 5
                          ***************************************


                IS    THERE       INTERMUSCULAR             SCARRING?             No


                IS    MUSCLE       FUNCTION          NORMAL          IN    TERMS       OF   COMFORT,       ENDURANCE,    AND   STRENGTH      SUFFICIENT
           TO
                PERFORM ACTIVITIES                   OF    DAILY          LIVING?       Yes


                ARE       SCARS    PRESENT?          Yes
                     SIZE AND          DETAILED       DESCRIPTION             OF       SCAR:      LEFT    BUTTOCK   INFERIOR ASPECT


                     14    X 4
                     UNIT    OF    MEASUREMENT:             Centimeters
                     IS    THE    SCAR    PAINFUL          OR    TENDER       TO       TOUCH:      Yes
                     IS    THE    SCAR ADHERENT:                No
                     ARE    THERE       SEPARATE          ENTRY AND          EXIT       SCARS:      No
                     ********************************************




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                                                                             ROMAN 061                                                                   2460
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                  SIZE AND       DETAILED      DESCRIPTION         OF    SCAR:    LEFT    UPPER BUTTOCK


                  5.0    X 5.0
                  UNIT    OF   MEASUREMENT:         Centimeters
                  IS    THE    SCAR    PAINFUL     OR    TENDER    TO    TOUCH:    Yes
                  IS    THE    SCAR ADHERENT:           No
                 ARE     THERE    SEPARATE       ENTRY AND        EXIT    SCARS:    No
                  ********************************************




                  SIZE AND       DETAILED      DESCRIPTION         OF    SCAR:    LEFT    BUTTOCK    LOWER ASPECT


                  2.0    X 1.5
                  UNIT    OF   MEASUREMENT:         Centimeters
                  IS    THE    SCAR    PAINFUL     OR    TENDER    TO    TOUCH:    Yes
                  IS    THE    SCAR ADHERENT:           No
                 ARE     THERE    SEPARATE       ENTRY AND        EXIT    SCARS:    No
                  ********************************************




                  SIZE AND       DETAILED      DESCRIPTION         OF    SCAR:    RIGHT    UPPER    BUTTOCK


                  7.0    X 6.0
                  UNIT    OF   MEASUREMENT:         Centimeters
                  IS    THE    SCAR    PAINFUL     OR    TENDER    TO    TOUCH:    Yes
                  IS    THE    SCAR ADHERENT:           No
                 ARE     THERE    SEPARATE       ENTRY AND        EXIT    SCARS:    No
                  ********************************************




                  SIZE AND       DETAILED      DESCRIPTION         OF    SCAR:    RIGHT    LOWER    LUMBAR AREA


                  4 X 4
                  UNIT    OF   MEASUREMENT:         Centimeters
                  IS    THE    SCAR    PAINFUL     OR    TENDER    TO    TOUCH:    Yes
                  IS    THE    SCAR ADHERENT:           No
                 ARE     THERE    SEPARATE       ENTRY AND        EXIT    SCARS:    No
                  ********************************************




                  SIZE AND       DETAILED      DESCRIPTION         OF    SCAR:    RIGHT    LUMBAR AREA


                  4.0    X 4.0
                  UNIT    OF   MEASUREMENT:         Centimeters
                  IS    THE    SCAR    PAINFUL     OR    TENDER    TO    TOUCH:    Yes
                  IS    THE    SCAR ADHERENT:           No
                 ARE     THERE    SEPARATE       ENTRY AND        EXIT    SCARS:    No
                  ********************************************




                  SIZE AND       DETAILED      DESCRIPTION         OF    SCAR:    RIGHT    LOWER    LUMBAR    SPINE


                  2.0    X 2.0
                  UNIT    OF   MEASUREMENT:         Centimeters
                  IS    THE    SCAR    PAINFUL     OR    TENDER    TO    TOUCH:    Yes
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                                                                  ROMAN 062                                                             2461
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                   IS    THE    SCAR ADHERENT:             No
                   ARE    THERE    SEPARATE         ENTRY AND           EXIT       SCARS:          No
                   ********************************************




                   SIZE AND       DETAILED       DESCRIPTION                OF    SCAR:       RIGHT       LOWER    LUMBAR       SPINE


                   1.0    X 1.0
                   UNIT    OF    MEASUREMENT:          Centimeters
                   IS    THE    SCAR    PAINFUL       OR    TENDER          TO    TOUCH:       Yes
                   IS    THE    SCAR ADHERENT:             No
                   ARE THERE SEPARATE ENTRY AND EXIT SCARS: No
                   ********************************************


              ARE       THERE    RESIDUALS       OF    NERVE          DAMAGE?          No


              ARE       THERE    RESIDUALS       OF    TENDON          DAMAGE?          No


              ARE       THERE    RESIDUALS       OF    BONE       DAMAGE?          No


              IS    THERE       A FINDING      OF     MUSCLE          HERNIATION?             No


              IS    THERE       A LOSS    OF    DEEP       FASCIA OR MUSCLE                   SUBSTANCE?          No


              IS    THE    MOTION       OF ANY      JOINT        LIMITED          BY    MUSCLE          DISEASE    OR    INJURY?      No


           TESTS


              CLINICAL          TESTS    AND   RESULTS:
                   NO    TEST    ORDERED.


           DIAGNOSIS




              EMPLOYMENT          HISTORY


                   USUAL       OCCUPATION:
                        COMBAT    ENGINEER ARMY             BEFORE ARMY                BACK    TENDER HE          REWINDED      THE     PAPER ON   PAPER
                        FACTORY    MASSACHUSSETS                FOR    10    YEARS
                   IS    VETERAN       CURRENTLY       EMPLOYED?             No
                   IS    VETERAN RETIRED?             Yes
                        DATE    OF RETIREMENT:             09/04/08
                        CAUSE    OF RETIREMENT:
                          Medical       (physical          problem),             Medical       (psychiatric             problem)
                          MEDICAL/PHYSICAL             PROBLEMS:
                               LUMBAR    SPINE      FRACTURE           DISC       HERNIATION AND BUTTOCK                   IN   JURIES
                          PSYCHIATRIC          PROBLEMS:
                               PTSD AND    TBI


              SUMMARY          OF ALL    EFFECTS       ON       OCCUPATIONAL AND                   DAILY ACTIVITIES:
                   DIAGNOSIS       OR ETIOLOGY             OF    PROBLEM:
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)         VISTA Electronic Medical Documentation
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                                                                        ROMAN 063                                                                          2462
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Progress Notes                                                                                                                 Printed On Feb 13, 2019


                  1.    RESIDUAL       SHRAPNEL         WOUND AND          SKIN    WOUND,       RIGHT    BUTTOCK


                  2.    RESIDUAL       SHRAPNEL         WOUND AND          SKIN    WOUND,       RIGHT    BUTTOCK


                  PROBLEM ASSOCIATED WITH                     THE    DIAGNOSIS:          BILATERAL       BUTTOCK      PAIN
                  GENERAL       OCCUPATIONAL            EFFECT:      Not     Employed
                  ARE    THERE    EFFECTS         OF    THE    PROBLEM ON          USUAL       DAILY ACTIVITIES:         Yes
                   CHORES:       Severe
                   SHOPPING:          Severe
                   EXERCISE:          Severe
                   SPORTS:       Prevents
                   RECREATION:          Prevents
                   TRAVELING:          Severe
                   FEEDING:       None
                   BATHING:       Severe
                   DRESSING:          Severe
                   TOILETING:          Moderate
                   GROOMING:          None
                  ****************************


                  OCCUPATIONAL          HISTORY:         HE    STUDIED       UP    TO    4 YEARS    OF    HIGH    SCHOOL.      BEFORE     THE   ARMY
           HE
                  WORKED       IN A PAPER FACTORY                  REWINDING       PAPER AS       A BACK       TENDER FOR      10   YEARS.      HE
           WORKED
                  IN    THE    ARMY AS       A COMBAT         ENGINEER       FOR    5 YEARS.       NOTE:       ***DUE   TO   HIS    SC   BUTTOCKS
                  MUSCLE       INJURY    THERE         ARE    NO    LIMITATIONS          TO    WORK**    AND    GET   A REMUNERATIVE         JOB***    •




           /es/    JORGE       R BERRIOS-RIVERA
           Physician,          C&P/Physical            Med    & Rehab
                jr:      _,5/10/2010
                         ,                   07:13


             LOCAL      TITLE:    RMS/POLYTRAUMA-SOCIAL                    WORK NOTE
           STANDARD          TITLE:    POLYTRAUMA NOTE
           DATE    OF    NOTE:    MAY    06,      2010@14:26                 ENTRY       DATE:    MAY    06,    2010@14:26:25
                       AUTHOR:    VARGAS-GOIRE,MAIRYN                      EXP    COSIGNER:
                   URGENCY:                                                         STATUS:       COMPLETED


                                                       Polytrauma          Social       Work    Intervention


                              Address:       BO   DOMINGUITO                                       Phone:       [787]237-6595
                                             CARR      129
                                             ARECIBO,         PR     00612                         County:       ARECIBO


                Marital        Status:       NEVER MARRIED                                         Age:    34
                             Religion:       ROMAN      CATHOLIC       CHURCH                      Sex:    MALE
                        Occupation:
           Period       of    Service:       PERSIAN         GULF    WAR
           Branch       of    Service:       ARMY
                               Combat:       NO                                                    POW:    NO

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                                                                      ROMAN 064                                                                        2463
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Progress Notes                                                                                                                        Printed On Feb 13, 2019
                    GROOMING:            Moderate
                  ADDITIONAL             COMMENTS:           EFFECTS       ON    DAILY       ACTIVITIES          DESCRIBED ABOVE ARE          ONLY    DURING
                  EPISODES          OF     PROSTRATING             HEADACHE.
                  ********************************************




              COMMENTS:
                  BASED        ON   RECORDS        REVIEW,          HISTORY,          PHYSICAL         EXAM AND        TODAY'S   EXAMINATION,        IT'S   MY
                  OPINION           THAT    VETERAN          IS    ABLE    TO    OBTAIN,          PERFORM AND          SECURE A SUSTANTIAL          GAINFUL
                  OCCUPATION             REQUIRING           A LIGHT,       SEDENTARY AND/OR                   SEMI-SEDENTARY        DUTY   WORK.


              WAS    A MEDICAL             OPINION       REQUESTED?             No




           /es/     Karina          Rodriguez-Juan,                MD
           Physician,           C&P/Neurology
           Signed:        05/26/2010          14:13


             LOCAL       TITLE:       PROSTHETICS'                EQUIPMENT          RECEIPT
           STANDARD        TITLE:          ORTHOTICS          PROSTHETICS             OUTPATIENT          NOTE
           DATE     OF   NOTE:        MAY    18,    2010@08:36:56                    ENTRY       DATE:    MAY    18,    2010@08:37:16
                     AUTHOR:          SANTIAGO,LUISA A                          EXP    COSIGNER:
                    URGENCY:                                                                STATUS:       COMPLETED


           Prosthetic's             Equipment           Receipt
           The      Patient          ,      signed       the       receipt       for         GEL    ELECTRODES          , on   May   18,
           2010     at    8:36      AM.     Given       at    the       Prostethic's             Service       Area.
           Please        see   VistA        Imaging          for    the    details          of    this
           form.




                                                                  ***   SCANNED        DOCUMENT          ***
                                                                   SIGNATURE          NOT    REQUIRED




              Electronically                Filed:       05/18/2010
                                                  by:    IMED       CONSENT




             LOCAL       TITLE:       PSYCHIATRIC             CONSULT
           STANDARD        TITLE:          PSYCHIATRY             CONSULT
           DATE     OF   NOTE:        MAY    13,    2010@04:48                       ENTRY       DATE:    MAY    13,    2010@04:48:39
                     AUTHOR:          LUGO-RODRIGUEZ,GABR                       EXP    COSIGNER:          FEBLES-GORDIAN,INDRA
                    URGENCY:                                                                STATUS:       COMPLETED


                          Patient          came    to    the       psychiatric             intervention          center    after     evaluation      at
           the    Emergency           Room by       Dr.       Diaz-Alcala             to    consider       an    opioid    detoxification.

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                                                                           ROMAN 065                                                                        2439
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Progress Notes                                                                                                                       Printed On Feb 13, 2019
           Patient       currently          followed at            polytrauma          clinics       by Dr.      Acosta       last   times     on May
           6,    2010.     Patient with with history                        of back trauma            resulting         in    surgical
           procedures          (march/07)          at      back    & buttocks          for    removal      of metal          fragments,
           secondary to             an EFP       (explosive         force proyectile).                Patient      is    currently using
           prescribed opioid medications                           in    order    to manage          his   chronic pain.             Patient
           reported feeling                fine    to      nursing       staff    during       the    behavioral         assesment.       He was
           fully oriented,             in    contact with               reality,       denying       suicidal      and homicidal           ideas.
           Mr.    Roman       informed not been                interested         in    a psychiatric            evaluation because              he
           was    already enrolled                in    Polytrauma          and   Postraumatric            stress       disorder clinics.
           Patient was             taken    to    the      waiting       area but       was   not     there when was            called     for
           psychiatric             evaluation.          He has      a schedulle          folllow up         appointment with             Dr.
           Vicente       on    June    9,    2010.


           /es/    GABRIEL LUGO-RODRIGUEZ
           Resident,          Psychiatry          Service
           Signed:       05/13/2010          05:08


           /es/    INDRA FEBLES-GORDIAN,MD
           Physician/Psychiatry                   Service/Psychiatrist
           Cosigned:          05/13/2010          07:33


           Receipt Acknowledged By:
           05/13/2010          09:22                    /es/      DEBORAH A.       ACOSTA-RAMIREZ,MD
                                                                  Physician/Psychiatry                Service/Psychiatrist


             LOCAL      TITLE:       BEHAVIORAL NURSING                  SCREENING
           STANDARD TITLE:             MENTAL HEALTH               NOTE
           DATE    OF NOTE:          MAY    13,    2010@03:25                 ENTRY      DATE:       MAY   13,    2010@03:25:55
                     AUTHOR:         CIRILO-MATOS,ALFRED                    EXP   COSIGNER:
                   URGENCY:                                                            STATUS:       COMPLETED


                                                                             Department         of Veterans Affairs
                                                                             VA Caribbean            Healthcare         System


                                                                              BEHAVIORAL NURSING                 SCREENING




           Patient Name:             ROMAN-PADILLA,MANUEL
           Social       Security:          XXX-XX-XXXX
           Date:     MAY      13,    2010


           On    arrival       patient was:             Wheelchair
           Homeless:          No


           Vital     Signs         Measurement:
           Temperature:                     98.1       F   [36.7    Cl     (05/13/2010         00:10)
           Pulse                            80    (05/13/2010            03:24)
           Respiratory Rate:                16    (05/13/2010            03:24)
           Blood Pressure:                  130/83         (05/13/2010         03:24)
           Weight:                          204    lb      [92.7    kg]     (05/07/2010         10:43)
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)          VISTA Electronic Medical Documentation
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                                                                         ROMAN 066                                                                      2440
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Progress Notes                                                                                                                             Printed On Feb 13, 2019
                    (x)    Reports       improved          family          and    social          relationships.
                    (x)    Demonstrates             improved          capability             to    manage       adequately          situations       that
                           may    trigger          relapse.
                    (x)    Has    received          support       from       his/her             significant       other       who    is
                           participating very                   actively          in    the       participant's          rehabilitation           plan.


                           Reports       improvement             in    the       following          emotional          and    psychological
                           symptoms:
                           Reports       improved          ability          to    perform          self    care    activities.
                           Shows    significant             progress             to    manage       anger       adequately.
                           Good    adherence             with    individual             therapy
                           Good    adherence             with    group       therapy.
                           Good    adherence             with    pharmacotherapy.


           Comments:Veteran              did       not    attend       any       hour       of    intervention          due    to    a request       that
           he   had made         for personnal             treason.          Is       IOP    staff       and primary AT             that   veteran     had
           improved        sinces       he    started       IOP       and    is       making       great       effort    to    comply.       Veteran
           will    be     referred       to    pain       clinic.          abd    is    expected          on    09-10-10       for    individual
           counseling.


           Plan:
                          1.    Continue       with       INTENSIVE          OUTPATIENT             PROGRAM Rehabilitation                   PLAN.
                          2.   Veteran        continue          participating                of    individual          and    group    intervention.
                          3.    Continue       counseling             to    avoid       triggers          and    high    risk       situations.




           /es/    SIDNEY        MARIANI-COLON
           ADDICTION           THERAPIST
           Signed:        09/09/2010          14:44


           Receipt        Acknowledged             By:
           09/09/2010           15:40                    /es/    LUIS       COLLAZO-RODRIGUEZ,                   Ph.D
                                                                 Staff       Psychologist,                Psychology          Service
           09/09/2010           15:05                    /es/    NURIA       F FLORES-VEGA
                                                                 ADDICTION             THERAPIST
           09/09/2010           14:48                    /es/    YOLANDA          I HUERTAS-MORALES,                   MSW
                                                                 CLINICAL             SOCIAL       WORKER
           09/09/2010           16:40                    /es/    Katherine             I MERCADO-NAZARIO
                                                                 PSYCHIATRIST
           09/10/2010           07:13                    /es/    LUIS       R MORALES-LABOY
                                                                 ADDICTION             THERAPIST


             LOCAL      TITLE:     RMS/POLYTRAUMA/INTERDISCIPLINARY                                    TEAM MEETING
           STANDARD        TITLE:       PHYSICAL          MEDICINE          REHAB       NOTE
           DATE    OF     NOTE:    SEP       07,    2010@14:29                    ENTRY          DATE:    SEP    07,    2010@14:29:36
                     AUTHOR:       MOTTA-VALENCIA,KERY                       EXP       COSIGNER:
                   URGENCY:                                                                 STATUS:       COMPLETED


           Active       problems:
           postconsussion           symptoms             after    blast          (EFP),          PTSD,    LBP    due    to    DDD,     chornic

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                                                                           ROMAN 067                                                                         2315
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Progress Notes                                                                                                                         Printed On Feb 13, 2019
           headaches




           Case    of       a 34   y/o MALE pt           followed at                Polytrauma       since       2008,       last
           interdisciplinary meeting was                            Apr/7/2009.             At   that     time,       pt had completed
           cognitive          rehab      interventions              & initial          Polytrauma          clinics          care plan.       His main
           needs       of    service were         for     chronic pain management                         due    to    LBP,    that    failed to
           stabilize          although all          conservative                treatments were             exhausted and was                referred
           to    the    Chronic NonMalignant                   Pain       Program          (IPRP).


           After prolonged follow up                      at       IPRP,       pt    continued with             LBP    refractory to multiple
           Tx alternatives.               Implementation                 of    opiods       appears       to be       non-contributory to
           improvements            in pain/function                 status,         physical        exam finidings.                Additionally,             pt
           exhibited poor             compliance          to medications                   usage    and denied to
           withdrawal          symptoms.       Pt was          discharged             from the       clinic       being       free    of withdrawal
           symptoms          and tolerating w/o                any pain meds.                It was       concluded          that    restarting
           narcotics          at   this     time has          relative          contraindications                due    to    no    clear necessity,
           exposing patient               again     to    adverse             effects       when no       significant          outcomes          expecetd
           with    narcotics,            particularly              in    this patient            exhibiting poor              insight       towards
           pain    treatment          goals    due       to    TBI.


           Above       considerations          are       in    agreement with                our    Polytrauma's             clinic previous
           experience with patient,                      in which pt had poor                      compliance          and no       objective
           improvements with narcotic                         therapy;          furthermore with potential                         risk of       narcotic
           abuse based on             a previous          history of                this    problem that          had been          documented          in
           medical          charts    from Buchanan.


           Currently          in   Polytrauma        he       is    receiving OT             groups       therapies          with    empahsis          in:
           coping       skills,       stress management,                      communication          skills       & cognitive program.                   He
           is    also       followed by       Social Worker on                      consentual partner                conflicts,       legal       issues
           with    daughter          custody.       He was          scheduled          last week          for MD       appointment where was
           no-show,          and therefore          Interdsiciplinary meeting was                               completed today.             A new
           appointment             reccommended          in    30       days.       Currently no          immediate          need    for
           medications,            reviewed chart              and all          pain meds          have    refills          x 2 in    active       orders.


           Dr.    Soto       reccommendations             (reproted on                addendum to          Psychologoist             note    of
           aug/26/2010)            wre    reivewed and              agree with him:
           -Patient has been                noncompliant                and    erratic       regarding use             of    narcotic medications
            (Morphine         sulfate       and Oxy       IR       5mg);       with    increased          risk    for misuse          of
           medications.
           -Non-narcotics             are    the medications                   of preference            for his        pain management,
           including:
             - NSAIDs:         currently       in Anaprox,                an    option may be meloxicam                      15mg.
             - muscle         relaxants       : currently cyclobenzaprine,                              options        are Norflex          PO    or
           Skelaxin          (NF).
             - analgesics:            currently          Tramadol,             may consider          increased up             to    100mg    qid
           monitoring          for    interactions with                   SSRIs.
             - topical         agents:       continue with                lidoderm.


           Future       considerations            for pain management may                          include:       trigger point             injections,
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                                                                          ROMAN 068                                                                               2316
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Progress Notes                                                                                                                      Printed On Feb 13, 2019
           acupuncture




           PLAN:
           1.    agree       to    continue          active       with    Intensive          Outpatient          Program       (I0P),    for
           substance          abuse       disorder
           2.    agree       with    IPRP program             reccommendations                to monitor          testosteron       levels,    bit
           is    pending          Endocrine          clinics       consult          after    completing          IOP
           3.    Meds:       will    monitor          as    above,       no    changes       at    this    time
           4.    PolyT:
           -continue          OT    groups       therapy
           -continue          SW/Case          management
           -since       pt    was    No-Show          to    last    appointment             Sep/2/2010          with   Dr.     Motta;
                         re-schedule             in    30    days    (end-Sep          or    early-Oct)
                         keep       upcoming          apopintment             for    Dr.    Motta,    nov/4/2010          as    scheduled




           The    following          providers             were    present          today:
           ARZOLA-TORRES,YOLANDA
           ROMAN-SOLER,             ZAMARYS
           MOTTA-VALENCIA,                KERYL


           /es/    KERYL          MOTTA-VALENCIA,             MD
           PHYSICIAN,             PHYSICAL       MED       & REHAB
           Signed:       09/07/2010             15:59


           Receipt       Acknowledged                By:
           09/08/2010             13:28                    /es/    YOLANDA ARZOLA-TORRES,                   PT
                                                                   PHYSICAL          THERAPIST,       PM&R,       PT    SECTION
           09/07/2010             17:09                    /es/    ZAMARYS          ROMAN-SOLER,          MS,    OTR/L
                                                                   OCCUPATIONAL             THERAPIST,          PM&R    SERVICE,    OT    SECTION
           09/09/2010             10:20                    /es/    MAIRYN VARGAS-GOIRE
                                                                   CLINICAL          SOCIAL       WORKER


             LOCAL      TITLE:       NO-SHOW          CONSULT
           STANDARD          TITLE:       NO    SHOW NOTE
           DATE    OF    NOTE:       SEP       02,    2010@16:23                    ENTRY    DATE:    SEP       02,    2010@16:23:25
                     AUTHOR:         MOTTA-VALENCIA,KERY                       EXP    COSIGNER:
                   URGENCY:                                                                STATUS:    COMPLETED


                                                           NO-SHOW       CONSULT


           SEP    02,    2010       16:23


           LAST    OUTPATIENT VISIT:
           9/1/10       @ 1430            SJ.I0P/GROUP/COLLAZO
           8/31/10       @ 1430            SJ.I0P/GROUP/S.MARIANI
           8/30/10       @ 1400            SJ.I0P/GROUP/N.FLORES
           8/27/10       @ 1430            SJ.I0P/GROUP/V.NEGRON

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                                                                          ROMAN 069                                                                   2317
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                                                        Medical Record
         Roman, Manuel        DOB: 21 Jan 1976     SSN: ***-**-0263     DoD ID: 1272425414            Created: 25 Sep 2018




SO Note Written by CABALLERO,GILBERTO @ 05 Jul 2012 1622 EDT
History of present illness
      The Patient is a 36 year old male. Source of patient information was patient. Source of patient information was medical
records. Encounter Background Information: NG soldier who was called to active duty service June 2006 for OIF and deployed to
Iraq on Sep 2006. Medical records show he was evaluated for a low back sprain on 13 Dec 2006 that responded to NSAID and
muscle relaxant therapy. He was stable and continued his military duties until 29 Mar 2007 when, as agunner on patrol his vehicle
was hit by an EFP receiving shrapnel injuries to both buttocks. He reported no LOC, no ringing of the ears. He was partially treated
at the combat hospital and then transferred to Landstuhl and to WRAMC in April 2007. He was followed by general surgery and
showed an excellent healing process. As soldier continued with LBP, a lumbar CT scan on 3 Mar 2007 showed bilateral L5
spondylosis and DDD L5-S1. PMR gave physical therapy with a slight response. As he persisted with LBP and numbness and
tingling of LE a lumbosacral MRI was done and showed broad-based protrusion L1-L2 and asmall central focal disc protrusion at
L5-S1 .There is also history of PTSD treated with psychotropic medications. Past medical history reviewed with patient, medication
list reviewed with patient, and surgical history reviewed.
       In the Army for 5-6 years.
       Midline lower back pain. No lower back pain radiating. Chronic lower back pain, worsens with sitting, with standing, with
walking, with bending forward, before storms, with cold temperatures, relieved by lying down on the back with a pillow under the
knees, by medication, and by heat.
       No systemic symptoms. No eye symptoms. No cardiovascular symptoms. No pulmonary symptoms. No fecal incontinence.
No urinary loss of control. No endocrine symptoms. No hematologic symptoms.
Allergies
      An allergy to NSAIDs Ketorolac- generalized rash.
Past medical/surgical history
Reported:
       Medical: Previous psychiatric treatment.
      Surgical /Procedural: No surgical /procedural history.
       Medications: Taking medication for pain, medication to help sleep, and medication for depression.
Personal history
Behavioral: Cigarette smoking one pack of cigartees per day and wishing to stop smoking for health reasons.
Alcohol: Alcohol use occasionally on holidays or parties.
Home Environment: Rents home, durable medical equipment: a bench, chair, or stool in the shower/tub, a hand-held shower, grab
       bars in the shower/tub, and cane.
Education: Has high school diploma.
Military: Military service in Iraq during Operation Iraqi Freedom -direct combat.
Work: Unemployed and currently on partial disability.
Activities: Per day watching television.
Religion: Religion: Roman Catholic.
Marital: Currently married.
Family history
        Aunts and uncles paternal aunts and uncles several with DM type II
        No family history of cancer
        No family history of mental illness (not retardation)
        No family history of allergies.
Physical findings
General Appearance:
       °Alert. °Active. °In no acute distress see NARSUM.
Tests
Imaging:
X-Ray Lumbosacral Spine:
       Complete x-ray of lumbosacral spine with oblique views was performed Radiology Report Details
       Procedure: Location:
      SPINE LUMBOSACRAL SERIES W/OBLIQUES SAN JUAN VAMC
       Exam Date:
      060ct10@0809
       Reason for Order:
       CHRONIC LBP
       Report Status:
      VERIFIED
       Report Text:

     Impression:

     Report:
     Lumbosacral spine AP lateral and both oblique projections:

     Examination shows normal preservation of the vertebral body heights and
     intervertebral spaces. The posterior elements of the spine appear normal.




        Roman, Manuel   DOB: MJan 1976 SSN: ***-**     DoD ID:                  Created: 25 Sep 2018
   THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS TO THIS
 INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.                            Page 82
                                                          ROMAN 070
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                                                         Medical Record
         Roman, Manuel        DOB: 21 Jan 1976     SSN: ***-**-0263         DoD ID: 1272425414   Created: 25 Sep 2018


    Mineralization is normal. Paravertebral soft tissues are unremarkable.




      Display includes data currently available from Veterans Health, AHLTA Health, BHIE Repository Health, SHARE Health,
Theater Health

MRI Spinal:
    An MRI of the lumbar spine without contrast was performed Radiology Report Details
    Procedure: Location:
    MRI LUMBAR SPINE W/OUT CONT. SAN JUAN VAMC
    Exam Date:
     16Jul08@1404
    Reason for Order:
    PATIENT WITH PERSISTEN TLOW BACK PAIN. LUMBAR SPIN EMRI SHOWED DDD AT LOWER THORACIC SPINE.
    Report Status:
    VERIFIED
    Report Text:

     Impression:

    Report:
    Lumbar spine without contrast done on 7/16/2008.

    Technique: Sagittal T1 and T2, axial T1 and T2 images of the lumbar spine
    were obtained.

     Findings:

    Vertebral body height and alignment are adequate. There are multilevel
    Schmorl's nodes. The bone marrow is of normal signal. The conus medullaris is
    in adequate position at T12-L1.

    Prominent epidural fat surrounding the thecal sac which is compatible with
    epidural lipomatosis. The visualized portion of the cord has normal signal
    and size. The prevertebral and paraspinal soft tissues are within normal
    limits.

    At the T11-T12 and T12-L1 there are diffuse disc bulge without significant
    neural foramina narrowing.

    At L1-L2 level there is no significant disc bulge or neural foramina!
    narrowing.

    At L2-L3, L3-L4 and L4-L5 levels there are diffuse disc bulge and mild
    bilateral facet joint and posterior ligament hypertrophy changes without
    significant neural foramina! narrowing.

    At L5-S1 level there are diffuse disc bulge and bilateral facet joint and
    posterior ligament hypertrophy changes with mild bilateral neural foramina!
    narrowing.

    There is diffuse spinal canal narrowing throughout the lumbar spine, which
    could be in part by congenital spinal canal stenosis.




      Display includes data currently available from Veterans Health, AHLTA Health, BHIE Repository Health, SHARE Health,
Theater Health
     Radiology Report Details
     Procedure: Location:
     MRI LUMBAR SPINE W/OUT CONT. SAN JUAN VAMC
     Exam Date:
     12Nov10@1427
     Reason for Order:
     PT W/ DISCOGENIC DISEASE T-10 TO L5 AFTER MVA DURING ACTIVE DUTY




       Roman, Manuel   DOB: • Jan 1976 SSN: ***-**-   DoD ID:                  Created: 25 Sep 2018
  THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS TO THIS
INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.                            Page 83
                                                           ROMAN 071
 Case 1:19-cv-03003-JMC-MJS                            Document 51-20               Filed 06/02/23          Page 73 of 80

                                                          Medical Record
         Roman, Manuel         DOB: 21 Jan 1976     SSN: ***-**-0263      DoD ID: 1272425414        Created: 25 Sep 2018


     Report Status:
     VERIFIED
     Report Text:

     Impression:

     Report:
     Lumbar spine MRIwithout contrast done on 11/12/2010.

     Technique: Sagittal T1 and T2, axial T1 and T2 images of the lumbar spine
     were obtained.

     Findings:

     Limited study seems some of the images, especially the sagittal T1 sequence
     is degraded by motion artifact, nondiagnostic. Patient is unable to space
     still.

     Vertebral body height and alignment are adequate. The bone marrow is of
     normal signal. The conus medullaris is in adequate position at T12-L1 level.
     There are Schmorl nodes in the superior and inferior endplates of T12
     vertebral body and inferior endplate of T11 vertebral body.

     There is no evidence of spinal canal masses or epidural collections. The
     visualized portion of the cord has normal signal and size. The prevertebral
     and paraspinal soft tissues are within normal limits.

     There is decreased intervertebral disc space at T12-L1 level without
     significant spinal canal stenosis or neuroforaminal narrowing.

     At L1-L2 level there is no significant disc bulge, spinal canal stenoses or
     neural foramina! narrowing.

     At L2-L3 level there is disc dehydration without significant spinal canal
     stenosis or neuroforaminal narrowing.

     At L3-L4 level there is no significant disc bulge, spinal canal stenoses or
     neural foramina! narrowing.

     At L4-L5 level no significant disc bulge, spinal canal stenoses or neural
     foramina! narrowing.

     At L5-S1 level there is no significant disc bulge, spinal canal stenoses or
     neural foramina! narrowing.




      Display includes data currently available from Veterans Health, AHLTA Health, BHIE Repository Health, SHARE Health,
Theater Health




A/P Last Updated by CABALLERO,GILBERTO @ 05 Jul 2012 1413 EDT
1. Visit for: military services medical evaluation board (MEB)(FITNESS FOR DUTY EXAMINATION)
2. LUMBAGO
3. INTERVERTEBRAL DISC DEGENERATION -LUMBAR
4. POST-TRAUMATIC STRESS DISORDER


Disposition Written by CABALLERO,GILBERTO @ 05 Jul 2012 1623 EDT
Released w/o Limitations
Follow up: with PCM. -Comments: Continue medical and psychiatric care at the local VA medical center.
Discussed: Diagnosis, Medication(s)/Treatment(s), Alternatives, Potential Side Effects with Patient who indicated understanding.
Administrative Options: Medical board




        Roman, Manuel   DOB: • Jan 1976 SSN: ***-*     DoD ID:                  Created: 25 Sep 2018
   THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS TO THIS
 INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.                            Page 84
                                                            ROMAN 072
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                                                  Medical Record
        Roman, Manuel     DOB: 21 Jan 1976   SSN: ***-**-0263   DoD ID: 1272425414        Created: 25 Sep 2018



Signed By CABALLERO, GILBERTO (Physician. Rodriguez Army Health Clinic)     05 Jul 2012 1624




       Roman, Manuel   DOB: • Jan 1976 SSN: ***-**-   DoD ID:                  Created: 25 Sep 2018
  THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS TO THIS
INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.                            Page 85
                                                    ROMAN 073
           Case 1:19-cv-03003-JMC-MJS                               Document 51-20               Filed 06/02/23                 Page 75 of 80


Progress Notes                                                                                                                      Printed On Feb 13, 2019
                              GOAL:        Perform       activities          of    daily    living          [MI]    and/or      ambulation
                                           verbalizing          pain       level    of   [41/10        or    less.




                   PATIENT[x]             participated          on    development          of    long       term
                   goal(s)       as       follows:       be    able    to    do    his   normal        ADL'S       with    less   pain.


           EDUCATION:
           Teaching Assessment:
              Type      of    teaching:
              - INITIAL         Teaching
              Participant(s):
                  Patient
              - Readiness            to    Learn:
                  - Ready       to    learn       and    receptive          for    education
              Learning         Barriers:
                  - No       barriers
              Learning         Preferences/Styles:
                  - One-to-One             Training
              Teaching method               used:
                  - Discussion
                  - Written          Material
           The    following          education          were    provided          according       to    identified             learning
           need(s):
                  Rehabilitation/Habilitation:
                              - Exercise:
                                -Stretching program.
                                -Precautions             on    exercising.
           Teaching          Evaluation
              Teach me         back method was                utilized       to    assess       understanding             of   education
              provided:
              Level      of    Understanding:
                  - Good.
              - Verbalize            understanding             of    the    information         provided.
              - Information               given    in:
                  Spanish




           /es/    YOLANDA ARZOLA-TORRES,                      PT
           PHYSICAL          THERAPIST,       PM&R,       PT    SECTION
           Signed:       11/27/2012          14:41


             LOCAL      TITLE:       RMS/POLYTRAUMA/INTERDISCIPLINARY                            TEAM MEETING
           STANDARD          TITLE:       PHYSICAL       MEDICINE          REHAB   NOTE
           DATE    OF    NOTE:       NOV 20,      2012@l8:30                  ENTRY      DATE:     NOV      20,     2012@l8:30:07
                       AUTHOR:       MOTTA-VALENCIA,KERY                    EXP    COSIGNER:
                   URGENCY:                                                          STATUS:       COMPLETED


                 ***    RMS/POLYTRAUMA/INTERDISCIPLINARY                            TEAM MEETING            Has    ADDENDA        ***


PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)        VISTA Electronic Medical Documentation
ROMAN-PADILLA,MANUEL                                                  Printed       at   SAN     JUAN       VA MEDICAL          CENTER


LAS   MARIAS,      PUERTO       RICO        00670
DOB:01           1976



                                                                       ROMAN 074                                                                      1482
           Case 1:19-cv-03003-JMC-MJS                            Document 51-20                         Filed 06/02/23                   Page 76 of 80


Progress Notes                                                                                                                                     Printed On Feb 13, 2019
           This    is    a 36    y/o male patient                who was          first          evaluated at                Polytrauma             clinic       on
           Jan/9/2008,          where       reported he          was       involved          in    an       EFP    incident             on    March       29,    2007.
           At    first    encounter          in    the    Polytrauma             clinic,          patient          came       diagnosed with                   CLBP
           that    had onset          since       injury in EFP             incident             and he was             receiving             treatment          for
           PTSD.       Pt had not been previously evaluated                                  for TBI,             and no prior                LOD or       service
           medical       charts       were       available       to    review.


           At    initial       interview          revealed       that       at    time       of    injury patient was                         doing
           surveillance,             as    Gunner       on RG-31       when EFP             fell       at    few    feet          away.       Pt    reported
           that    he    fell    into       the vehicle,             bumped helmet                to    floor       and       recalled that peers
           assisted him,             but    that he was          knocked out                with pain             killers          and next          thing he
           recalled was being                in    a hospital.


           The    history provided was                   unremarkable             for       focal/transient                   neurologic             deficits             as
           expected in          a concussion,             however          it    is   noted that                 there       is    memory gap.             This
           memory gap          could have          represented post-traumatic                               amnesia          or    alteration             to
           consciousness,             versus       the    sedative          effects          from pain             killers.            However,           it    is
           noted this memory gap was                      temporarily related to                            the    EFP       incident             adding weight
           to    the    impression          that       this    event       represented a concussive                               exposure but             severity
           of    event    is    difficult          to    assess.           The    duration             of    the patient's memory gap,                               is    a
           severity indicator                for TBI,          but    could not             be    estimated             due       to    the       inevitable
           difficulty patient's                   have    in    recalling             remote       events.          At present                and after
           performing          this       case    review,       it    appears         that        transport             time       from accident                to    the
           hospital       (his       next    clear memory)             should be             considered as                   the best             estimate
           duration       of    this memory gap:                if    reached          facility             in    less       than       30    minutes,          then
           this    was    a mild TBI;             if    reached       facility in                 30 minutes             or more             then    indicates
           moderate       TBI.


           Further       interdisciplinary evaluation were                                  considered to                help          support       diagnosis
           of    TBI:
           -Somatic       symptoms          were       a complaint          in    the       NBS    (including                : headaches;
           photophobia;          Poor       coordination,             clumsy)         and progress                 notes          in    chart       (reporting
           patient       complaints          of    imbalance,          falling          & vertigo).                It    should be                noted these
           are mainly          somatic       symptoms,          that       favor       TBI.
           -When patient             started cognitive                functional             evaluations                in    2008,          OT    reported
           deficits       in memory issues                such as          those       seen with             TBI:       In    terms          of    cognition,
           the patient          obtained           scores       in    the       Cognistat          examination                indicating mild
           impairments          in    the    areas       of    attention,             language          repetition,                and memory.             He
           obtained scores                of moderate          impairments             in    constructional                   abilities,             and visual
           memory.
           -Neuropsychology:                Polytrauma          clinics Neuropsychologist                               (Dr.       Mendez-Villarrubia)
           reviewed the patient's psychology                               & neuropsychology battery                               reports          from outside
           VA,    and also       evaluated patient                   and    added further neuropsychology                                     evaluations.                On
           Jan/12/2009,          he       entered a progress                note      on     Jan/12/2009,                documenting                the
           psychological             and neuropsychology evaluations                               done          outside VA supported the
           following        diagnoses:
                         "Axis       I     Posttraumatic             Stress       disorder
                         Cognitive          Impairment:              Moderate perceptual                         abilities,             attention          and
                         verbal       learning
                         Cognitive          Disorder NOS
PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)        VISTA Electronic Medical Documentation
ROMAN-PADILLA,MANUEL                                                  Printed at             SAN       JUAN VA MEDICAL                   CENTER


LAS   MARIAS,      PUERTO RICO              00670
DOB:01           1976



                                                                       ROMAN 075                                                                                               1483
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Progress Notes                                                                                                                               Printed On Feb 13, 2019
                        Major        Depression,             mild"
           In    conclusion          of    his       review,          he   concluded:          "The     results          indicate       that       Mr.
           Roman's
           deficits       range       from mild             to    severe,          which    are      attributed           to    Traumatic          Brain
           Injury."


           Since     then,         patient       has       been       followed       at    Polytrauma          clinics          due    to
           postconsussion             symptoms             after       blast       (EFP),      LBP     due    to    DDD,       chronic       post-
           traumatic          headaches.             Several          interdisciplinary modalities                         have       been    used          for    a
           symptoms-based             approach             treatment.




                   KERYL       MOTTA-VALENCIA,                   MD
           PHYSICIAN,          PHYSICAL MED                & REHAB
           Signed:       11/29/2012             11:31


           Receipt      Acknowledged                 By:
           11/30/2012          09:28                       /es/       MAIRYN VARGAS-GOIRE,                   ACSW
                                                                      CLINICAL       SOCIAL       WORKER,          SOCIAL       WORK    SERVICE
           11/29/2012          11:44                       /es/       DEBORAH A.          ACOSTA-RAMIREZ,MD
                                                                      Physician/Psychiatry                   Service/Psychiatrist
           11/29/2012          11:46                       /es/       LAURA    E DALMASY-FROUIN
                                                                      Optometrist,          Surgical          Service,          Ophthalmology
           11/29/2012          11:54                       /es/       ITAMAR MENDEZ-LOPEZ,                   MBA,    OTR/L
                                                                      OCCUPATIONAL          THERAPIST,             PM&R    SERVICE,          OT    SECTION


           11/30/2012         ADDENDUM                                                     STATUS:       COMPLETED
           Social       Worker       offered          orientation             in    our    office.       Patient          and    his    wife       were
           oriented       about       Release          of    Information             Office       to    receive          copy    of    this       note.       They
           were    oriented          about       Fort       Buchanan          request       by    fax    of    this       TBI    condition             and
           treatment.          However,          VA has          protocols          to    information          release.          Social       Worker
           offered       orientation             of    Dr.       Gilberto          Caballero         office        (787-707-2820             / 2219)          and
           fax,    787-707-2949.                They will             request       copy    of    this       note    and will          arrive          to    Fort
           Buchanan       office          to    offer       this       copy.       They understood             and       agreed       orientation
           offered.       Patient          was       agreed with            this     medical         letter        reason,       because          he    is
           pending       of   military medical                    board       re-evaluation.


           /es/    MAIRYN VARGAS-GOIRE,                      ACSW
           CLINICAL       SOCIAL WORKER,                   SOCIAL WORK             SERVICE
           Signed:       11/30/2012             10:45


             LOCAL      TITLE:       ADDICTION             THERAPIST          NOTE
           STANDARD       TITLE:          ADDICTION          PSYCHIATRY             THERAPIST          NOTE
           DATE    OF   NOTE:        NOV       19,    2012@14:43                    ENTRY      DATE:     NOV       19,    2012@14:43:27
                     AUTHOR:         MORALES-LABOY,LUIS                        EXP       COSIGNER:
                   URGENCY:                                                                STATUS:       COMPLETED


           PRIMARY       THERAPIST             NOTES:


           Mr.    Roman       is    a 36       year    old male            patient        that    currently          lives       with       his    wife       in

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DOB:01           1976



                                                                            ROMAN 076                                                                                  1484
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Progress Notes                                                                                                                      Printed On Feb 13, 2019
             LOCAL      TITLE:          PRIOR AUTHORIZATION                DRUG     REQUEST       RESPONSE-APPROVED-
           STANDARD          TITLE:          PHARMACY       MEDICATION        MGT    CONSULT
           DATE    OF    NOTE:          FEB    12,    2019@l5:59                  ENTRY    DATE:       FEB    12,   2019@15:59:45
                       AUTHOR:          SANCHEZ-CABRERA,JAN                  EXP    COSIGNER:
                   URGENCY:                                                              STATUS:       COMPLETED
                   SUBJECT:             PREGABALIN          50MG    ORAL     CAP


           The    medical          record has             been    reviewed with           regard       to    this   prior
           authorization                drug       request.


                Medication          requested:             PREGABALIN        50MG    ORAL       CAP
                Medication          indication:             Widespread pain


           Medical       history             relevant       to    this    request:


                   ase       of    a 43       y/o    male    pt    clbp    due     to muscle          spasm/contusion         with MBT     and    TBI
           at    Irak    after          an    TED    explosion          threw him back.           He    blacked      out    for   1-2   mins   and
           was    admitted          to       the    hospital       for    excision        of    metal       fragments      from his     low back
           and buttock.             Between          surgery and          rehab     he    was    in    the    hospital      about   a year.      He
           has    been       seen       in    the    polytrauma          clinic.         Has    received numerous            treatments,
           acupuncture,             blocks          2-3    times,       injections,        prior physical            therapy      and pool
           therapy without                   benefits.       Currently        on    tramadol.          Previosuly       treated with
           gabapentin             (1800       mg/d),       and    amitriptyline           (remote       data).      Trial    of pregabalin        for
           widespread pain                   approved.


           The    request          is    approved
           - A documented                therapeutic             failure     of    the    preferred          formulary
                alternative(s)                exists




           /es/    JANYS          SANCHEZ-CABRERA,                RPH
           Clinical          Pharmacist/Pharmacy                   Service/Ext.           11476
           Signed:       02/12/2019                16:05


             LOCAL      TITLE:          PATIENT       EDUCATION
           STANDARD          TITLE:          EDUCATION       NOTE
           DATE    OF    NOTE:          FEB    12,    2019@15:58                  ENTRY    DATE:       FEB    12,   2019@15:58:17
                       AUTHOR:          SANCHEZ-CABRERA,JAN                  EXP    COSIGNER:
                   URGENCY:                                                              STATUS:       COMPLETED




           Teaching Assessment:
                Type    of    teaching:
                - INITIAL          Teaching
                Participant(s):
                  Patient
                - Readiness             to    Learn:
                  - Ready          to    learn       and    receptive        for    education
                Learning          Barriers:

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)           VISTA Electronic Medical Documentation
ROMAN-PADILLA,MANUEL                                                     Printed     at    SAN    JUAN       VA MEDICAL      CENTER


LAS   MARIAS,      PUERTO          RICO        00670
DOB:01           1976



                                                                          ROMAN 077                                                                      34
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                                                DEPARTMENT OF THE ARMY
                                            U.S. ARMY HUMAN RESOURCES COMMAND
                                      1600 SPEARHEAD DIVISION AVENUE, DEPARTMENT 420
                                                FORT KNOX, KENTUCKY 40122-5402


                                                          May 21, 2018

Combat-Related Special Compensation


SPC (RET) Manuel Roman

Arecibo, PR 00612-9107

Original Application Date: March 30, 2009

Subject: Army CRSC Decision Letter, Claim #: 350521)

Dear SPC Roman (RET):

   We have reviewed your claim for Combat-Related Special Compensation (CRSC) and have
approved your claim in accordance with current program guidance. A copy of this decision letter
will be sent to the Defense Finance and Accounting Service (DFAS) for payment calculation and
processing. Payment questions should be referred to DFAS at 1-800-321-1080.

Verified as Combat-Related:

                     Descr i
                           pt i
                              on
                                            Combat        %                CRSC
  VASRD                                                                                          Justification /Comments
                                              Code                    Effective Date

           Residual Shrapnel Wound
                                                                                   verified Previously awarded;
    5317   and Skin Wound, Right             ACPH        0%               OCT 08
                                                                                            percentage and effective date.
           Buttock

           Residual Shrapnel Wound
                                                                                   verified Previously awarded;
   5317    and Skin Wound, Left
           .                                 ACPH        0%               OCT 08
                                                                                            percentage and effective date.
           Buttock
                                                               _
           Degenerative Disc Disease,
                                                                                   verified Previously awarded;
   5243    to Include Bulging Discs,         ACPH        40%              OCT 08
                                                                                            percentage and effective date.
           Thoracolumbar Spine

           Depressive Disorder, Not                                                        This condition is granted due t
                                                                                                                         o your
   9434                                       AC         50%              OCT 08
           Otherwise Specified                                                             combat awards.



Total Combined Percentage:

                                   Total Combat-Related Disability:       70%    OCT 08


Unable to Verify as aCombat-Related Disability:

  VASRD                      Description                              %                   Justification/Comments
                                                                                Previously requested; no new evidence
    6204                                                           30%          provided to show combat-rel at
                                                                                                             edevent caused
            Vertigo (8045-6204)
                                                                                condition.




                                                       ROMAN 078
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                                                      -2-

SPC (RET) Manuel Roman (Claim #: 350521)



  VASRD                     Description                      %               Justification/Comments

                                                                    Previously requested; no new evidence
             Post-Traumatic Headaches (8045-8100)            30%    provided to show combat-related event caused
    8100
                                                                    condition.



    Please keep us informed of any changes that take place regarding your CRSC-approved
disability ratings. Additionally, if the VA awards you new disabilities that may be combat-
related, please forward copies of the VA Rating Decision Letter(s) awarding these new
conditions to our office for consideration.

   To apply for an additional disability or reconsideration of apreviously unverified/changed
condition, send acompleted Reconsideration Form (CRSC Form 12E) with new supporting
documentation to:

               Mail:  DEPARTMENT OF THE ARMY
                      U.S. Army Human Resources Command
                      ATTN: AHRC-PDR-C (CRSC)
                      1600 Spearhead Division Avenue —Dept 420
                      Fort Knox, Kentucky 40122-5402
               eMail: usarmy.lcnox.hrc.mbx.tagd-crsc-claims@mail.mil
               eFax: 1-502-613-9550

    Six Year Statute of Limitations: CRSC is subject to the 6-year statute of limitations, 31
U.S.C., Section 3702(b). In order to receive the full retroactive CRSC entitlement, you must file
your CRSC claim within 6years of any VA rating decision that could potentially make you
eligible for CRSC or the date you become entitled to retired pay, whichever is more recent. If
you file your claim more than 6years after initial eligibility, you will be restricted to 6years of
any retroactive entitlement. Any questions relating to the payment of this claim must be
addressed to DFAS, which serves as the payment authority for CRSC.

   Thank you for your dedication and selfless service to our Nation. We recommend that you
keep this decision as part of your military personnel records. If you have questions regarding
this decision, or need Reconsideration Form (CRSC 12e), contact 1-866-281-3254 or visit
www.hrc.army.mil/tagd/crsc.

                                                    Sincerely,
                                                    BARMETTLER.JOAN N. Digitally signed by
                                                                       BARMETTLERJOANN.LINDA.1 148922132
                                                    LI NDA.1148922132  Date: 2018.05.21 1530:20 -04'00'

                                                    JoAnn L. Barmettler
                                                    Sergeant First Class, U.S. Army
                                                    Certifying Officer, Combat Related
                                                       Special Compensation




                                                     ROMAN 079
